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 1    Ira D. Kharasch (CA Bar No. 109084)
      John W. Lucas (CA Bar No. 271038)
 2    Jason H. Rosell (CA Bar No. 269126)
      Victoria A. Newmark (CA Bar No. 183581)
 3    PACHULSKI STANG ZIEHL & JONES LLP
      10100 Santa Monica Blvd., 13th Floor
 4    Los Angeles, California 90067
      Telephone: (310) 277-6910
 5    Facsimile: (310) 201-0760
      E-mail: ikharasch@pszjlaw.com
 6             jlucas@pszjlaw.com
               jrosell@pszjlaw.com
 7             vnewmark@pszjlaw.com

 8    Counsel to Debtors and Debtors in Possession

 9                                       UNITED STATES BANKRUPTCY COURT

10                                        CENTRAL DISTRICT OF CALIFORNIA

11                                                     SANTA ANA DIVISION

12   In re:                                                                    Case No. 8:20-bk-11507-ES

13   HCA WEST, INC., et al.,                                                   Chapter 11

14                              Debtors and Debtors-in                         Jointly Administered With Case Nos.:
                                Possession.                                    8:20-BK-11508-ES and 8:20-BK-11509-ES
15
     Affects:                                                                  PROOF OF SERVICE
16                                                                             (Relates to Docket No. 775)
          All Debtors
17
          HCA WEST, INC., ONLY
18

19        HAI EAST, INC., ONLY

20        HNA, INC., ONLY

21

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24

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     3.1.PROOF.SERVICE
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                                         PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
address is: One Sansome Street, 34th Floor, Suite 3430 San Francisco, CA 94104

A true and correct copy of the document entitled: Post-Confirmation Notice of Motion and Motion For
Entry of an Order (A) Authorizing Transfer of Remaining Accounts Receivable to Creditor
Motorola Solutions, Inc. and (B) Issuing Final Decree Closing Chapter 11 Case Pursuant to
Bankruptcy Code Section 350(A) And Federal Rule of Bankruptcy Procedure 3022; Memorandum
of Points and Authorities and Declaration of David Stapleton in Support Thereof
was served in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
hyperlink to the document. On (date) November 23, 2022, I checked the CM/ECF docket for this
bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic
Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                          Service information continued
                                                                                      on attached page

2. SERVED BY UNITED STATES MAIL:
On (date), November 23, 2022, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.

                                                                                          Service information continued
                                                                                      on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date) November 23, 2022, I served the following persons and/or entities by personal delivery, overnight
mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                          Service information continued
                                                                                      on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and
correct.

November 23, 2022                           Matthew Renck                                        /s/ Matthew Renck
 Date                                       Printed Name                                              Signature




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1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

        Karol K Denniston karol.denniston@squirepb.com, travis.mcroberts@squirepb.com;
         sarah.conley@squirepb.com; karol-k-denniston-9025@ecf.pacerpro.com
        Gail S Greenwood ggreenwood@pszjlaw.com, rrosales@pszjlaw.com
        Michael J Hauser michael.hauser@usdoj.gov
        Lydia A Hewett lydia.hewett@cpa.state.tx.us
        John W Lucas jlucas@pszjlaw.com, ocarpio@pszjlaw.com
        Mark E McKane mark.mckane@kirkland.com, mmckane@kirkland.com; alevin@kirkland.com;
         lydia-yale-8751@ecf.pacerpro.com
        Christopher Minier becky@ringstadlaw.com, arlene@ringstadlaw.com
        David L. Neale dln@lnbyg.com
        Victoria Newmark vnewmark@pszjlaw.com
        Juliet Y. Oh jyo@lnbyg.com, jyo@lnbyb.com
        Jason H Rosell jrosell@pszjlaw.com, mrenck@pszjlaw.com
        Jeffrey Snyder eservice@bilzin.com, eservice@bilzin.com
        Adam D Stein-Sapir info@pfllc.com
        United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
        Michael J. Weiland mweiland@wgllp.com, kadele@wgllp.com; vrosales@wgllp.com;
         cbmeeker@gmail.com; lbracken@wgllp.com




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2.       SERVED BY UNITED STATES MAIL

 HCA West, Inc                               Pioneer Funding Group II, LLC               Sunbeam Properties, Inc.
 Stapleton Group                             232 W. 116th St.                            c/o Bilzin Sumberg Baena Price &
 Attn: David Stapleton                       PO Box 1735                                 Axelrod
 514 Via de Valle, Ste 210                   New York, NY 10026-0974                     ATTN: Jeffrey I. Snyder, Esq.
 San Diego, CA 92075-2717                                                                1450 Brickell Avenue, 23rd Floor
                                                                                         Miami, FL 33131-3456
 Texas Comptroller                           Santa Ana Division                          0117-Waste Pro
 C/O Office of the Attorney General          411 West Fourth Street, Suite 2030,         PO Box 865223
 PO Box 12548                                Santa Ana, CA 92701-4500                    Orlando, FL 32886-5223
 Austin, Tx 78711-2548
 1 Touch Office Technology                   123Radios                                   1st Radio Battalion
 370 Amapola Avenue                          11550 Stillwater Blvd N                     Box 555355
 Suite 106                                   Suite 123                                   Camp Pendleton, CA 92055-5355
 Torrance, CA 90501-7241                     Lake Elmo, MN 55042-8613
 2 Way Communications                        2 Way Radio of Minnesota, Inc               2-Way Radio of Minnesota, Inc
 4401 Twain Ave                              604 E. First St                             PO Box 362
 San Diego, CA 92120-3420                    Janesville, MN 56048-3007                   Janesville, MN, MN 56048-0362
 2018 CAPPO Conference                       2Way Radios 4u                              300 Spectrum Center Drive LLC
 PO Box Y                                    1898 Shore Drive South                      PO Box 840332
 Yuba City, CA 95992-1189                    Unit 117                                    Los Angeles, CA 90084-0332
                                             Saint Peterburg, FL 33707-4645
 305 Broadcast                               3E Tech Corp                                49er Communications, Inc.
 1865 Brickell Ave                           2800 Glades Circle                          361 Rail Road Ave.
 Suite 1513                                  Suite 109                                   Nevada City, CA 95959-2835
 Miami, FL 33129-1621                        Weston, FL 33327-2270
 49er Communications, Inc.                   4Imprint                                    A A R Electronics, Inc.
 PO Box 2538                                 Thomas Binner                               P.O. Box 4336
 Nevada City, CA 95959-1949                  25303 Network Place                         Houma, LA 70361-4336
                                             Chicago, IL 60673-1253
 A Advantage Communications                  A R Communications                          A&K Electric
 24211 WCR 44                                91 Main St Eatontown                        36W962 Treetop Lane
 La Salle, CO 80645                          Eatontown, NJ 07724-3453                    St. Charles, IL 60174-5040
 A-Beep, Inc.                                A.R.F. Siscom Alberto Alfonso               A.W. Enterprises
 452 N. Chicago Street                       Rivera Fue                                  6543 S Laramie Ave
 Joliet, IL 60432-1749                       Toledo 1965, Casilla 22T                    Bedford Park, IL 60638-6413
                                             Santiago, Chili 00832-0000
 AA Advance Air, Inc.                        ACG                                         ACG Systems Inc.
 1920 N.W. 32 Street                         1015 Lunt Ave                               133 Defense Highway
 Pompano Beach, FL 33064-1335                Schaumburg, IL 60193-4418                   Suite 206
                                                                                         Annapolis, MD 21401-8907
 ADP Total Source                            ADP, LLC                                    ADS Technology
 P. O. Box 55772                             1851 N RESLER DR MS-600                     2050 Coral Way
 Boston, MA 02205-5772                       El Paso, TX 79912-8023                      Ste 2-322
                                                                                         Miami, FL 33145-2634
 AEROTEK Commercial Staffing                 AGORA - Solu es em                          AGS U.S. Inc.
 3689 Collection Ctr Dr                      Telecomunica es                             3951 SW 47 Avenue
 Chicago, IL 60693-0036                      Rua Cerro Cora 420                          Suite 106
                                             Sao Paulo, Brazil 00100-0000                Fort Lauderdale, FL 33314-2802
 AMK Services, LLC                           AMPRO Electrical Services                   APCO International, Inc.
 9291 Crouse Willison Rd                     10219 Nw 81 St                              351 N. Williamson Blvd
 Johnstown, OH 43031-8165                    Tamarac, FL 33321-1218                      Daytona Beach, FL 32114-1112

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 API Weinschel Inc                           APL Logistics                               APW Service
 P.O. Box 780029                             6225 E Minooka Road                         9418 S 670 W
 Philadelphia, PA 19178-0029                 Minooka, IL 60447-9339                      Sandy, UT 84070-6610
 ARCain Investigations                       ARG Worldwide, LLC                          ARINC Inc.
 P.O. Box 3076 Frederick                     215 W Ann Arbor Road                        2551 Riva Road
 Frederick, MD 21705-3076                    Suite 203                                   Annapolis, MD 21401-7461
                                             Plymouth, MI 48170-2251
 AT&T                                        AT&T Mobility                               AV Engineered
 PO Box 5014                                 P.O. Box 129                                5991 Nw 14 St.
 Carol Stream, IL 60197-5014                 Newark, NJ 07101-0129                       Sunrise, FL 33313-6214
 Aaron J. Titus                              Aaron Lawson                                Abba Equipment, Inc.
 232 Ellsworth Cir                           17619 Boat Club Drive                       5553 Anglers Ave.
 Saint Johns, FL 32259-7230                  Fort Meyer, FL 33908-4467                   Suite 113
                                                                                         Fort Lauderdale, FL 33312-6655
 Abest Radio & Communications                Abix Tecnologia                             Accell Distribution
 32 Taaffe Place                             Augusto Stellfeld 1175                      14 Calz CAamarones Avenida
 Brooklyn, NY 11205-1409                     Curitiba, Brazil 08025-0220                 San Salvador Xochimanca
                                                                                         Ciudad de Mexico
 Accellos, Inc.                              Ace Parking Management                      Action Communications, Inc
 90 S Cascade Ave                            30 Pacifica                                 11630 Airport Road # B-300
 Suite 1200                                  Suite 100                                   Everett, WA 98204-6724
 Colorado Springs, CO 80903-1678             Irvine, CA 92618-3386
 Action Communications, Inc                  Adam T. Fugate                              Adcom Worldwide, Inc.
 12414 Hwy 99                                1710 W. Crestview St                        PO Box 844722
 Suite 14                                    Springfield, MO 65807-3385                  Dallas, TX 75284-4722
 Everett, WA 98204-5501
 Adecco Employment Services                  Advanced Communications                     Advanced Radio Communications
 Dept LA 21403 P                             PO BOX 142                                  LLC
 Pasadena, CA 91185-0001                     Jasper, IN 47547-0142                       PO Box 142
                                                                                         Jasper, IN 47547-0142
 Advantage Communications Inc.               Advantage Communications, Inc.              Advertising Edge Inc.
 P.O. Box 964                                515 South Highlands Dr.                     9840 Prospect Avenue
 Andover, KS 67002-0964                      Hollywood, FL 33021-7308                    Santee, CA 92071-4311
 Aerowave Technologies, Inc                  Air Communications                          Air Spectrum Rapid Wireless of
 PO Box 294123                               2430 Industrial Street                      Florida,
 Lewisville, TX 75029-4123                   Wisconsin Rapids, WI 54495-2249             1461 Banks Road
                                                                                         Margate, FL 33063-3960
 Airwave Radio, Inc.                         Al Rosenberger                              Alarma 24 A24
 1138 Basse Road                             76 West Stein Road                          Calle Jose R Lopez #1
 San Antonio, TX 78212-1003                  Vergennes, IL 62994-1109                    Los Prados, Dominican Republic
                                                                                         51000-000
 Alarmlock Corp                              Alchimia                                    Alex (Yangxiang) Chen
 51 North 3000 West                          1840 Eldora Street                          444 Washington Blvd
 Clearfield, UT 84015-7412                   Lemon Grove, CA 91945-3704                  Apt 1416
                                                                                         Jersey City, NJ 07310-1943
 Alfacom SAS                                 Algoritmos Procesos Y Disenos SA            Alison Ruth Cain
 Calle 38 B Sur NR. 46A-09                   Calle Raimundo Fernandez                    PO Box 3076
 Envigado, Columbia 55428-0000               Villaverde, Num                             Frederick, MD 21705-3076
                                             Madrid, Spain 28003-0000




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 All Points Wireless, LLC                    All Radio Rental                            All Wireless Communications
 Michael C. Barnhill                         5250 Pleasure Island Road                   1112 Oakley Ave
 2750 E Cottonwood Pkwy, Suite               Orlando, FL 32809-3568                      Burley, ID 83318-1538
 560
 Cottonwood Heights, UT 84121-
 7289
 All-Comm Technologies, Inc.                 AllComm Wireless                            Allen Matkins
 5 Whitmore Rd                               4116 First Ave N                            1900 Main St 5th FL
 Revere, MA 02151-5916                       Birmingham, AL 35222-1506                   Irvine, CA 92614-7321
 Allied Administrators                       Allred Radio                                Alpha Prime Wireless
 PO Box 26908                                549 Allred Road                             Communications
 San Francisco, CA 94126-6908                Afton, WY 83110-9742                        5646 W. Monee-Manhattan Rd
                                                                                         Monee, IL 60449-9611
 Altech Electronics, Inc.                    Amazon Capital Services                     Amazon LLC
 2234 McDonald Avenue                        PO Box 035185                               PO Box 035184
 Brooklyn, NY 11223-3926                     Seattle, CA 91824-5184                      Seattle, WA 98124-5184
 Ambient Regional Services LLC               AmeriGas                                    America-China Enterprise Chamber
 2687 N 2000 West                            PO Box 7155                                 of Comm
 Suite B                                     Pasadena, CA 91109-7155                     1591 N Powerline Road
 Farr West, UT 84404-9688                                                                Pompano Beach, FL 33069-1604
 American Express                            American Technology Suppliers               American Tradeshow Services
 P.O. Box 650448                             931 Village Blvd                            217 General Patton Avenue
 Dallas, TX 75265-0448                       Suite: 905-213                              Mandeville, LA 70471-8701
                                             West Palm Beach, FL 33409-1803
 Anderson Communications                     Andrea Smith                                Andrew R Tuch
 242 Highway 30                              7519 Camroden Rd                            7536 Lyons Street
 Oxford, MS 38655-8837                       Rome, NY 13440-0603                         Morton Grove, IL 60053-1159
 Andy Kerman                                 Angel A Gonzalez                            Anthony Batrakov
 497 Weidner Rd                              8904 NW 111 Terrace                         217 Slater Blvd
 Buffalo Grove, IL 60089-3230                Hialeah, FL 33018-4579                      Staten Island, NY 10305-3239
 Applied Communications                      Applied Technology Group, Inc               Arc Broward
 203 SW Cutoff                               4440 Easton Drive                           10250 NW 53 Street
 Northboro, MA 01532-2385                    Bakersfield, CA 93309-1028                  Fort Lauderdale, FL 33351-8023
 Arcom Communications                        Arcom Communications                        Area Wide Communications
 4780 West Ann Road                          7512 Dr. Phillips Blvd                      260 Hwy 45 E. North
 STE 50-210                                  Suite 50-210                                Medina, TN 38355
 North Las Vegas, NV 89031-3470              Orlando, FL 32819-5420
 Aria Resort Casino                          Arizona Corporation Commission              Arrowhead Radio & Security dba
 3730 S Las Vegas Blvd                       1300 W Washington St                        Hunt Elec
 Las Vegas, NV 89158-4300                    Phoenix, AZ 85007-2951                      7900 Chicago Ave
                                                                                         South Bloomington, MN 55420-
                                                                                         1324
 Ascesis Media Ltd                           Ascesis Media Ltd.                          Asecones S.A
 Poole BH14                                  36 Gevis Road                               Av.Calle 24 # 40-51
 Oly, UK                                     Suite 5 2nd FL                              Bogota, Columbia 00011-0311
                                             Pine Court, Bournemouth BH1
                                             3DH
 Ashlee Tortorici                            Ashum Corp.                                 Astron Corporation
 48 N Park Ave Unit 5                        PO Box 1569                                 9 Autry
 Lombard, IL 60148-2259                      Lake Dallas, TX 75065-1569                  Irvince, CA 92618-2768
 Atlantic Communications, Inc                Atlantic Communications, Inc.               Atlantic Radio Communications
 P.O. Box 596                                4811 Market Drive                           2011 South Perimeter Road
 Bandoe, ME 04402-0596                       Newport News, VA 23607-2217                 Ft. Lauderdale, FL 33309-7135


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 Audiax Communications                       Avant-Garde Productions                     Aviation Communications
 611 Hall Street NW                          8 Mape Avenue                               21 Breezy Way
 Warren, OH 44483-3350                       Conklin, NY 13748-1121                      Georgetown, Cayman Islands KY1,
                                                                                         1002
 Avitech, LLC                                Avlon Industries                            Ayer-Shirley Regional School
 1206 Punua Way                              1999 N 15the Avenue                         141 Washington Street
 Kailua, HI 96734-3827                       Melrose Park, IL 60160-1402                 Ayer, MA 01432-1246
 B & E Enterprises                           B R Communications                          B and B Radio
 PO Box 918                                  2617 Grace Chapel Road                      P.O. Box 1051
 Duchesne, UT 84021-0918                     Harrisonburg, VA 22801-4524                 Russellville, AR 72811-1051
 B&H Photo                                   B.W.Recycling, Inc                          BAM Communications
 PO Box 28072                                301 W Ansin Blvd                            35091 Palestine Road
 New York, NY 10087-8072                     Hallandale, FL 33009-3114                   Alvermale, NC 28001-7922
 BES Industries                              BK Technologies, Inc                        BNP MEDIA
 11512 Lake Mead Ave                         7100 Technology Drive                       P.O. BOX 2600
 Suite 406                                   Melbourne, FL 32904-1525                    TROY, MI 48007-2600
 Jacksonville, FL 32256-9687
 Baker's Electronics &                       Ballston Spa Central Schools                Bally's Las Vegas
 Communication                               70 Malta Avenue                             3645 Las Vegas Blvd
 2627 SW Main Blvd.                          Ballston Spa, NY 12020-1599                 South Las Vegas, NV 89109
 Lake City, FL 32025-0034
 Bardwell Electronics                        Bartronics Inc                              Bay Electronics, Inc.
 PO Box 1091                                 112 S. 12th Street                          23 East Oak St. S
 Vineyard Haven, MA 02568-0902               Chesterton, IN 46304-2141                   Sturgeon Bay, WI 54235-2786
 Bed Bath & Beyond                           Bella Collina                               Beltronics, Inc.
 27063 Meadow Ridge Dr                       16355 Vetta Drive                           19 Proctor Hill Rd
 Elko, MN 55020-8541                         Montverde, FL 34756-3517                    Hollis, NH 03049-6437
 Benjamin A. Herbert                         Benton Ezzell                               Best Beverage
 Kirkland & Ellis LLP                        625 E.Vista Ridge Mall Dr. #1237            Cmac 3355 Marvin Sands Drive
 555 South Flower Street                     Lewisville, TX 75067-3711                   Canandaigua, NY 14424-8405
 Los Angeles, CA 90071-2411
 Best Way Communications LLC                 Better Communications Co, Inc.              Bexar County For The Performing
 20714 76th Ave W No.13                      PO Box 850                                  Arts DBA
 Edmonds, WA 98026-6816                      Heber, AZ 85928-0850                        115 Auditorium Circle
                                                                                         San Antonio, TX 78205-1354
 Big Dog Wireless                            Billing Solutions, Inc.                     Bird Electronics Corp.
 2618 Richlands Hwy                          PO Box 1136 Glenview                        P.O. Box 74148-S
 Jacksonville, NC 28540-3607                 Glenview, IL 60025-8136                     Cleveland, OH 44194-0231
 Biser's Radio Service                       Blackbeard Marine                           Blue Shield of California
 P.O. Box 2 Lorent                           145 Valois Blvd                             PO Box 629014
 Lorentz, WV 26229-0002                      Key Largo, FL 33037-3215                    El Dorado, CA 95762-9014
 Borderland Communications                   Bolin Communications Inc ProCom             Bombardier Transportation
 6417 Alameda Ave                            1703 E 50 Street                            700 Beideman Ave
 Space C                                     Texarkana, AR 71854-1130                    Camden, NJ 08105-1548
 El Paso, TX 79905-4954
 Bradford J Filsinger                        Bosch Security System, Inc.                 Bradford Greene
 2334 S Cypress Bend Drive                   8601 East Cornhusker Hwy                    221 Palm Circle
 Apt 701                                     Lincoln, NE 68507-9740                      Atlantic, FL 33462-6630
 Pompano Beach, FL 33069-5629
 Brandon Hugh Brown                          Brandon C. Buie                             Brandon Hemstead
 Kirkland & Ellis LLP                        813 North Governor                          1428 Argonne Drive
 555 California Street                       Williams Highway, SC 29532                  Green Bay, WI 54304-2904
 Suite 2700
 San Francisco, CA 94104-1603
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 Break Through Communications                Brandon Moss                                Brandon Schatz
 3620 Byers Avenue                           2514 Migues Rd                              7280 Hwy 49
 Fort Worth, TX 76107-4533                   New Iberia, LA 70560-8840                   New Leipzig, ND 58562-9793
 Brittany Nelson                             Brenntag Southwest Catoosa                  Bridgman Public Schools
 311 Sierra Drive                            5702 E Channel Rd                           9964 Gast Road
 Royse City, TX 75189-8454                   Catossa, OK 74015-3013                      Bridgman, MI 49106-9750
 Broward County Tax Collector                Broadcast Depot Corporation                 Bronx Communications
 115 S. Andrews Ave.                         7782 N.W. 46 ST.                            2702 Pile Strade No.2
 Rm A-100                                    Miami, FL 33166-5460                        St Thomas, VI 00802-6608
 Fort Launderdale, FL 33301-1888
 Browns Communications Co                    Broward County Tax Collector                Brown & Brown
 3160 State Highway 323 WEST                 1800 Nw 66th Ave                            1201 West Cypress Creek Road
 Henderson, TX 75652-9714                    Suite 100                                   Suite 130
                                             Plantation, FL 33313-4523                   Fort Launderdale, FL 33309-1918
 Brunal Air Cargo                            Browns Communications Co                    Bruce Lepak
 Paramount House                             5190 US Hwy 259                             7364 Good Luck Ln
 Suite 117, Delta Way                        Henderson, TX 75652-8583                    West Bend, WI 53090-8610
 Egham, Surrey
 TW20 8RX, UK
 Bryant Electric                             Bryan Geoffroy                              Bryan Rassbach
 8817 NW 21 Terrace                          2318 Terre Ruelle                           S8437 Wren Dr.
 Miami, FL 33172-2421                        New Iberia, LA 70563-3094                   Eau Claire, WI 54701-8571
 Business Radio Licensing                    Bryant Radio Supply, Inc                    Burlington Comm Service Ctr
 30251 Golden Lantern                        3449 Virgina Ave                            4735 Williston Rd
 Suite E                                     Collinsville, VA 24078-2252                 Ste 30
 Laguna Niguel, CA 92677-5994                                                            Williston, VT 05495-5333
 Business Radio, Inc                         Business Radio Sales & Service,             Business Radio, Inc
 Po Box 7266                                 Inc.                                        205 N. Volland St.
 Kennewick, WA 99336-0617                    1418 5th Street                             Kennewick, WA 99336-2268
                                             Coralville, IA 52241-1814
 C C Control                                 By Dzign, LLC                               C & K Communications
 5563 Sepulveda Blvd.                        5625 Arvilee Street                         216 Lena Street
 Suite# D                                    Suite E                                     Nokomis, IL 62075-1534
 Culver City, CA 90230-5581                  Las Vegas, NV 89118-2280
 CDW Direct                                  CASBO                                       CASEC
 200 North Milwaukee Avenue                  980 E Tahquitz Canyon Way                   7440 Nw 52 St
 Vernon Hills, IL 60061-1577                 Suite 103                                   Miami, FL 33166-5530
                                             Palm Springs, CA 92262-6708
 CMI Communications                          CEN-COM                                     CLD-Clever Little Design Limited
 5520 W 190TH St. APT 230                    9 Independance Drive                        48 Bell Street
 Torrance, CA 90503-1017                     Londonderry, NH 03053-2248                  Maidenhead, Berkshire SL6 1HX
                                                                                         GB
 COX COMMUNICATIONS                          CNA Commercial Insurance                    CNC Technical Service
 ATTN BANKRUPTCY CENTER                      500 Colonial Center Parkway                 3596 Moline Street
 1341 CROSSWAYS BLVD                         Lake Mary, FL 32746-7637                    Unit 106
 CHESAPEAKE VA 23320-2897                                                                Aurora, CO 80010-1422
 CSS Mindshare, LLC.                         CP Communications                           CSCOMS
 6030 South 58th St.                         200 Clearbrook Road                         PO Box 598
 Lincoln, NE 68516-6411                      Elmsford, NY 10523-1330                     Beach Haven, NJ 08008-0598
 Caesars Entertainment                       CX Packaging                                Cables For Less
 Attn: CPHQ-Energy                           14408 Iseli Road                            9093 S State Road 39
 One Caesars Palace Drive                    Santa Fe Springs, CA 90670-5206             Mooresville, IN 46158-7464
 Las Vegas, NV 89109-8969


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 Calfee Halter & Griswold LLP                Caesars Entertainment Corporation           Calfee Halter & Griswold LLP
 Attn. Mark Wallace McDougall                c/o Steven E. Abelman                       Attn. Joshua M Ryland
 The Calfee Building                         Brownstein Hyatt Farber Schreck,            The Calfee Building
 1405 East Sixth Street                      LLP                                         1405 East Sixth Street
 Cleveland, OH 44114-1600                    410 17th Street, Suite 2200                 Cleveland, OH 44114-1600
                                             Denver, CO 80202-4432
 California Choice                           Calfee Halter & Griswold LLP                Calfee, Halter & Griswold LLP
 PO Box 7088                                 Attn. Todd R. Tucker                        1405 East Sixth Street
 Orange, CA 92863-7088                       The Calfee Building                         Cleveland, OH 44114-1601
                                             1405 East Sixth Street
                                             Cleveland, OH 44114-1600
 California Southwestern Insurance           California Dept. of Tax and Fee             California Peace Officers'
 Agency                                      Administrati                                Association
 21 Orchard                                  Collections Support Bureau, MIC:            555 Capitol Mall
 Lake Forest, CA 92630-8300                  55                                          Suite 1495
                                             PO Box 942879                               Sacramento, CA 95814-4602
                                             Sacramento, CA 94279-0001
 Candice Staggs                              Caltec S.A.C.                               Cameron Strickland
 384 Poplar Lane                             Ave Del Pinar 152                           2569 Honey Clover Ct
 Warrior, Al 35180-3729                      Santiago De Surco                           Suamico, WI 54313-7787
                                             Lima, Peru 15038-0000
 Canteen                                     Candra Archbold                             Canquest Communications
 Po Box 50196                                208 Brown Street                            141 Grand Ave. East
 Los Angeles,, CA 90074-0196                 Greer, SC 29650 US, SC 29650-               Chatham, Canada N7L 1W1
                                             2305
 Car Comm Inc                                Canyon State Wireless                       Capitol Region Education Council
 10111 Ironwood Road                         8 Corral Road                               111 Charter Oak Avenue
 Suite B                                     Sierra Vista, AZ 85635-3779                 Hartford, CT 06106-1912
 Palm Beach Gardens, FL 33410-
 4898
 Carnero Vitolas, Inc.                       Carlos E. Cordova                           Carlos Orlando Barban Dieguez
 11415 Cedar Oak Drive                       8631 Waterside Court                        19116 W Lake Dr
 El Paso, TX 79936-6009                      Parkland, FL 33076-2872                     Hialeah, FL 33015-2239
 Cartel Communications, Inc.                 Carolina Communications Inc                 Carolyn Pedersen
 9415 - 202 Street                           207 East Industrial Park Blvd               15751 Sheridan Street
 Langley, BC V1M 4B5                         Florence, SC 29505-5251                     # 110
                                                                                         Ft. Lauderdale, FL 33331-3486
 Cazcom, Inc.                                Case Technology, Inc.                       Cato Communications
 17181 Jasmine Street                        26 Hayward St                               1306 Madeline St.
 Victorville, CA 92395-7727                  Ipswich, MA 01938-2012                      Commerce, TX 75428-3751
 Central FL Electric Cooperative Inc         Cecomunica                                  Celina City Schools
 11491 NW 50th Avenue                        GalleryMezzanine,OficinaM7,Via              585 East Livingston Street
 Chiefland, FL 32626-3247                    Ital                                        Celina, OH 45822-1784
                                             PO Box 0831-05555
                                             Punta Paitilla
                                             San Francisco, Republic of Panama
 Chad Stojkovich                             Central FL Telefibe Comm                    Central Mississippi
 1187 Halfmoon Gate                          885 Lake Myrtle Road                        Communications
 Lake in the Hills, IL 60156-4852            Auburndale, FL 33823                        P.O. Box 329
                                                                                         Kosciusko, MS 39090-0329
 Chemtel Inc.                                Charles Fine                                Charles Weddle
 1350 N. Florida Ave                         PO Box 958                                  401 Francine Ct.
 Tampa, FL 33602                             Alcoa, TN 37701-0958                        Orlando, FL 32824-5708


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 Chicago Processed Fruit Group               Cherry Hill Hotel Management                Chestnut Ridge Radio Comm Inc
 6280 W Howard St                            2349 West Marlton Pike                      636 Market Street
 Niles, IL 60714-3433                        Cherry Hill, NJ 08002                       Johnsonburg, PA 15845-1242
 Chiu and Lu Tax Office Inc                  Chickasaw Personal Comm., Inc.              China General Chamber of Comm-
 1641 W Main Street, Suite 306               P.O. Box 2556                               USA
 Alhambra, CA 91801-1900                     Ardmore, OK 73402-2556                      19 E 48th Street, 3rd Floor
                                                                                         New York, NY 10017-1007
 Christopher M. Souza                        Christina Hutchinson                        Christopher Cochran
 34 Waterworks Way                           11011 Pleasant Colony Dr                    104 N. Peoria St.
 Irvine, CA 92618-3107                       Apt 1904                                    New Holland, IL 62671-4011
                                             Houston, TX 77065-4558
 Chubb                                       Christopher Wimsatt                         Chrouch Communications
 PO Box 382001                               12221 122nd St. E                           147530 30th Avenue
 Pittsburgh, PA 15250-8001                   Puyallup, WA 98374-4054                     Remus, MI 49340
 Citation Communication                      Cintas First Aid & Safety                   Ciscor Acquisitions, LLC
 1855 Indian Road                            P.O. Box 631025                             126 West Main Street
 Suite 207                                   Cincinnati, OH 45263-1025                   Norman, OK 73069-1307
 West Palm Beach, FL 33409-4793
 City Of Miramar Fire Rescue                 City National Bank                          City Of Miramar Fire Rescue
 2300 Civic Center Place                     555 South Flower Street                     14801 SW 27 St
 Hollywood, FL 33025-6577                    16th Floor                                  Miramar, FL 33027-4100
                                             Los Angeles, CA 90071-2326
 Clarity Ventures, Inc.                      City of Irvine                              Clarence Coney
 9442 North Capital Of Texas Hwy             PO Box 19575                                1005 Damascus Circle
 Suite 925                                   Irvine, CA 92623-9575                       Costa Mesa, CA 92626-1608
 Building I
 Austin, TX 78759-6389
 Clifford Schatz                             ClearComm                                   Clickback
 7535 61st St. SW                            105 W 35th Street STE G                     110 James St.
 New Leipzig, ND 58562-9720                  National City, CA 91950-7923                St. Cahtarines, ON L2R7E8
 Code 3 Service                              Clovis, Inc.                                Club-Hotel Nashville Inn & Suites
 2323 Aztec Rd NE, Ste A                     PO Box 519                                  2435 Atrium Way
 Albuqerque, NM 87107-4231                   Batavia, IL 60510-0519                      Nashville, TN 37214-5102
 Collier 2Way, Inc.                          Cogency Global Inc.                         Collette Travel Service Inc
 3900 Mannix Drive                           10 East 40th Street                         162 Middle Street
 Suite #107                                  10th Floor                                  Pawtucket, RI 02860-1057
 Naples, FL 34114-5402                       New York, NY 10016-0201
 ComEd                                       Collins Communications Co.                  Colorado Department of Revenue
 PO Box 6111                                 101 North Link Lane                         PO Box 17087
 Carol Stream, IL 60197-6111                 Suite 1                                     Denver, CO 80217-0087
                                             Fort Collins, CO 80524-4787
 Comm Car Services                           Comcast                                     Comcast
 11235 Lakeview Dr.                          1585 Waukegan Road                          PO Box 71211
 Pompano Beach, FL 33071-5139                Waukegan, IL 60085-6727                     Charlotte, NC 28272-1211
 CommScope Technologies LLC                  Comm-lease, Inc dba CL                      CommScope Technologies LLC
 PO Box 9687                                 Technologies                                P.O.Box 96879
 Chicago, IL 60693-0001                      2783 Starwood Dr.                           Chicago, IL 60693-6879
                                             Hampstead, MD 21074-1894
 Commercial Gulf Communications,             Command 1, LLC                              Commercial Communications
 LLC                                         53636 Countryside Road                      6314 E Gravel Avenue
 2430 Vanderbilt Beach Rd                    California,, MO 65018-4135                  Alexandria, VA 22310-3218
 Suite 108
 Naples, FL 34109-2654


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 Commuications International                 Commline, Inc.                              Commonwealth Edison Company
 4450 U.S. 1                                 5563 Sepulveda Blvd.                        ComEd Bankruptcy Department
 Vero Beach, FL 32967-1561                   Culver City, CA 90230-5581                  1919 Swift Drive
                                                                                         Oak Brook, IL 60523-1502
 Communication Professionals                 Communicacion Electronica                   Communication City
 P.O. Box 550836                             Sistematizada S                             8487 NW 54 St.
 Dalla, TX 75355-0836                        Calzade De Azcapotzalco                     Miami, FL 33166-3320
                                             La Villa 988 CO
 Communications & Emergency                  Communication Specialists Inc.              Communication Specialists Inc.
 Products                                    401 Wood Street                             800 Kings Way
 10404 Cash Road                             Texarkana, AR 71854-5938                    Wake Village, TX 75501-5860
 Suite 100
 Bldg E
 Stafford, TX 77477-4400
 Communications Express LLC                  Communications Associates                   Communications Electronics
 7657 Wolford Way                            3343 South Scenic                           P.O. Box 77
 Lorton, VA 22079-1743                       Springfield, MO 65807-3928                  Buckeye Lake, OH 43008-0077
 Communications Plus, Inc.                   Communications Group, Inc dba               Communications Plus LLC
 PO Box 296                                  Commtech                                    84 Salem Turnpike
 Ahoskie, NC 27910-0296                      441 Donelson Pike                           Norwich, CT 06360-6407
                                             Suite 420
                                             Nashville, TN 37214-3558
 Communications Unlimited                    Communications Services                     Communications Specialists, Inc
 300 N. Ogden Avenue                         2474 Rolfe Rd                               3225 W. Marlette Ave
 Chicago, IL 60607-1114                      Mason, MI 48854-9252                        Phoenix, AZ 85017-1534
 Complete Wireless Tech                      Communications Unlimited                    Company ScanSource Latin
 621 C Innovation Circle                     452 N. Claremont Ave                        America INC
 Windsor, CO 80550-3153                      Chicago, IL 60612-1441                      1935 NW 87th Ave
                                                                                         Miami, FL 33172-2607
 Computer Business Solutions, Inc.           Comptroller of Public Accounts              Comtech 2Way Communications
 PO Box 6398                                 C/O Office of the Attorney General          P.O. Box 654
 Ashland, VA 23005-6398                      Bankruptcy - Collections Division           Eastport, NY 11941-0654
                                             MC-008
                                             PO Box 12548
                                             Austin TX 78711-2548
 Comtrol Corp DBA Comtrol                    Comserv Services, LLC                       Concept Wireless Communications
 International                               1246 Sycamore View Road                     1232 Capitol Drive
 500 Pennsylvania Ave                        Memphis, TN 38134-7648                      Unit A
 Irwin, PA 15642-3652                                                                    Addison, IL 60101-3158
 Connecticut Radio Inc.                      Comunicacion Electronica                    Constant Contact
 1208 Cromwell Ave.                          Sistematizada S                             1601 Trapelo Road
 Rocky Hill, CT 06067-3436                   Adolfo Prieto 1351                          Suite 329
                                             Col Del Valle, Mexico 03100-0000            Waltham, MA 02451-7357
 Continental Wireless                        Consorcio Hytera A24                        Convergence Communications,
 10455 Vista Park Road                       Jose Amado Soler No 14, Serralles           LLC
 Dallas, TX 75238-1645                       Santo Domingo, Domincan                     PO Box 2782
                                             Republic 10127-0                            Hazleton, PA 18201-1133
 Cook's Communications                       Continental Wireless                        Cornelia Van Herel
 160 N Broadway St.                          PO Box 832916                               1430 Pambrooke Lane
 Fresno, CA 93701-1592                       Richardson, TX 75083-2916                   Houston, TX 77094-3070
 Corporacion Radio Electronica S.A.          Cook's Communications                       County Of Orange Treasurer-Tax
 3A. Ave 8-66 Zona 14                        Houston, TX 77094                           Collector
 Guatemala City, Guatemala                                                               PO Box 4515
                                                                                         Santa Ana CA 92702-4515

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 Coverall North America                      Country Malt Group                          Crelosa - Honduras
 PO Box 802825                               145 Cane Creek Industrial Park              Col. Tepeyac 2 Cuadras Al Este Mc
 Chicago, IL 60680-2731                      Road                                        Donald
                                             # 175                                       Tegucigalpa, Honduras 11101-0000
                                             Fletcher, NC 28732-8311
 Crelosa Operador PDT                        Crane Warning Systems Atlanta               Crowe LLP
 3A. Ave 8-66 Zona 14                        1735 Porterton Way                          P.O. Box 71570
 Guatemala City, Guatemala                   Cumming, GA 30041-9570                      Chicago, IL 60694-1570
 Crowne Plaza                                Cricket Ventures                            Crystal SMR, Inc.
 1325 Virginia Ave                           528 S. Cherry Road                          1601 Neptune Drive
 Atlanta, GA 30344-5213                      Rock Hill, SC 29732-3436                    San Leandro, CA 94577-3162
 Crystal Springs                             Crystal Plus, Inc.                          Cynergy Wireless
 PO Box 660579                               489 Yorbita Rd., Ste A                      1463 Combermere Dr.
 Dallas, TX 75266-0579                       La Puente, CA 91744-5961                    Troy, MI 48083-2745
 Cynergy Wireless                            Custom Global Logistics                     D.H.L. EXPRESS (USA), INC
 2300 Bellingham Dr                          PO Box 3330                                 P.O. Box 4723
 Troy, MI 48083-2038                         Northlake, IL 60164-8330                    Houston, TX 77210-4723
 DHL Express                                 Cynthia A. Fischer                          DLS Worldwide
 PO Box 4723                                 2220 Manhattan Ave                          PO Box 932721 RR Donnelley
 Houston, TX 77210-4723                      Manhattan beach, CA 90266-4425              Cleveland, OH 44193-0015
 DME Delivers LLC                            DHL Express USA, Inc.                       DMR Networks, Inc. dba
 PO Box 10979                                16592 Collections Center Drive              Callcomm
 Daytona Beach, FL 32120-1979                Chicago, IL 60693-0001                      P.O. Box 745135
                                                                                         Arvada, CO 80006-5135
 Dai & Associates, P.C.                      DME Delivers, LLC                           Dalton Communications
 1500 Broadway                               c/o Peter Mollers                           PO Box 6055
 Suite 2200                                  2441 Bellevue Ave                           Dalton, GA 30722-6055
 New York, NY 10036-0172                     Daytona Beach, Fl 32114-5615
 Dan Smith                                   Dai & Associates, P.C.                      Daniel Reinhart
 14 N. Winchester Street                     Times Square Plaza                          PO Box 2126
 Benton, MO 06736                            1500 Broadway,Suite 2200                    Mesa, AZ 85214
                                             New York, NY 10036-0172
 Daniel T. McKee                             Daniel Edward Smith Jr.                     Darden Communications dba DCCI
 1230 Park Ashwood Drive                     124 Foust Dr.                               272 Mountain Ridge Rd
 APT C                                       Sikeston, MO 63801-4608                     Millbrook, AL 36054-2118
 Saint Charles, MO 63304-8772
 Darien Board of Education                   Daniel T. McKee                             Data Lab S.A.
 35 Leroy Avenue                             1240 Park Ashwood Drive                     Avda. Artigas #1645
 Darien, CT 06820-4416                       Apt C                                       Asuncion, Paraguay 01415-0000
                                             St Charles, MO 63304-8738
 Dateck Corp                                 Data Control Network, Inc.                  David Behselich
 3803 Eleven Mile Road Bldg                  3274 West 96th Place                        11403 N. Wauwatosa Rd.
 #A                                          Hialeah, FL 33018-2039                      Mequon, WI 53097-3269
 Fort Pierce, FL 34945-2541
 David Brewer                                Dav El                                      Davis Communications
 109 S Greenview Ave                         69 Norman Street                            1638 6000 Road
 Mundelein, IL 60060-2163                    Everett, MA 02149-1951                      Bartlett, KS 67332-9306
 Davis Electronics                           David Holt                                  Dealers Industry Viability Group
 617 Hwy 52 By Bass East                     101 W Maple St.                             c/o Jennifer-Griffith Black
 Lafayette, TN 37083                         Washington, IN 47501-1545                   JGBLaw PC
                                                                                         4104 Bellaire Blvd
                                                                                         Houston, TX 77025-1004



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 Dean Carlson                                Daylight Transport, LLC                     Debra Brooks
 920 E Shady Way                             PO Box 93155                                3138 S MacGregor Way
 Arlington Heights, IL 60005-4388            Long Beach, CA 90809-3155                   Houston, TX 77021-1103
 Decatur Electronic Comm                     Dean's Commercial Two-Way                   Deckard Enterprises
 1222 4th Ave Se                             P.O. Box 489 Cataula                        189 Enders Road East
 Decatur, AL 35601-4004                      Cataula, GA 31804-0489                      Quitman, AR 72131-8957
 Del Mar Foods                               DECISIONQUEST LLC                           Delmarva Two-Way Radio, Inc
 1720 West Beach Street                      16825 NORTHCHASE DR SUITE                   12636 Sunset Avenue
 Watsonville, CA 95076-9536                  900                                         Unit H-1
                                             HOUSTON TX 77060-6004                       Ocean City, MD 21842-9669
 Deluxe Business Forms                       DELL FINANCIAL SERVICES                     Denis Chernik
 P.O. Box 742572                             P O BOX 81577                               6584 Austin Street, 4t
 Cincinnati, OH 45274-2572                   AUSTIN TX 78708-1577                        Rego Park, NY 11374-4663
 Department of Airforce                      Denese V Inniss LLC                         Department of the Air Force
 224 Apache Trail                            39 Ruffian Drive                            2744 Malvesti Street
 Goodfellow AFB, TX 76908                    Stafford, CA 22556-6663                     Fort Bragg, NC 28310-0001
 Dept of Highway Safety & Motor V            Department of Navy                          Destin Thomas Communications,
 1800 NW 66 Ave                              2555 Amphibious Drive                       Inc.
 Suite 101                                   Virginia Beach, VA 23459-9201               P.O. Box 23276
 Fort Lauderdale, FL 33313-4532                                                          Ventura, CA 93002-3276
 Dial Communications                         Deputy Electronics                          Dianique Management
 760 W Ventura Blvd                          11172 E US Highway 50                       1916 Wright Blvd
 Camarillo, CA 93010-8382                    Seymour, IN 47274-7553                      Schaumburg, IL 60193-4564
 Diego Navas                                 Diamond Exhibition (Hong Kong)              Dietz Farms
 3315 Commerce Parkway                       83 Des Voeux Road                           7825 82nd St SW
 Miramar, FL 33025-3954                      Central Hong Kong, China                    New Leipzig, ND 58562-9628
 Digi-Key Corporation                        Diego Navas                                 DigiComm Systems
 701 Brooks Ave. South                       3950 N 56th Avenue                          3501 Durazno Ave. Unit #C
 Thief River Falls, MN 56701-2703            #213                                        El Paso, TX 79905-1206
                                             Hollywood, FL 33021-1683
 Digicorp LTDA                               Digi-Key Electronics 3012424                Direct Messenger Service
 Calle Joaquin De Velasco # 444              PO Box 250                                  P.O. Box 190242
 Esqu                                        Thief River Falls, MN 56701-0250            Ft. Lauderdale, FL 33319-0242
 La Sierra, Bolivia
 Directdata.com                              Digital Sky Wireless, LLC                   Discount Two-Way Radio
 VEC Supply                                  16400 104 Ave                               555 W Victoria St
 Po Box 1189                                 Orland Park, IL 60467-5406                  Rancho Dominguez, CA 90220-
 Charottesville, VA 22902-1189                                                           5513
 Diversified Communications Group            Discount Communications                     DocuSign Inc.
 of Ohio                                     4199 Coal River Rd.                         221 Main St
 4435 Aicholtz Road, Suite 900               Alum Creek, WV 25003-9119                   Suite 1550
 Suite 900                                                                               San Francisco, CA 94105-1947
 Cincinnati, OH 45245-2038
 Donna M. Vasu                               Diversified Communications Group            Double Tree by Hilton Raleigh
 2432 Ridgeland Dr.                          of Ohio                                     Durham Air
 PO Box 236                                  8549 Montgomery Road                        4810 Page Creek Lane Durham
 Avon, OH 44011-0236                         Suite B                                     Durham, NC 27703-8582
                                             Cincinnati, OH 45236-2366
 Duane Carr                                  Donna Vasu                                  Duane Morris LLP
 1922 Tonieville Road                        2636 Center Rd                              30 South 17th Street
 Hodgenville, KY 42748-9688                  Avon, OH 44011-1837                         Philadelphia, PA 19103-4196




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 Dueane Morris LLP                           Duane Morris Govnmt Strategies              Dunne Communications, Inc.
 190 S. LaSalle Street                       LLC                                         204 East Commercial
 Chicago, IL 60603-3410                      600 Grant Street Suite 5010                 Anaconda, MT 59711-2324
                                             Pittsburg, PA 15219-2801
 Durham Communications                       Duff & Phelps Holdings                      EFW Inc
 4611 E. Virginia Street                     Corporation                                 4700 Marine Creek Pkwy
 Mesa, AZ 85215-9107                         55 E. 52nd Street                           Forth Worth, TX 76179-3598
                                             31st Floor
                                             New York, NY 10055-0004
 EH Publishing Inc.                          Durham Communications                       ER2 Image Group
 PO Box 989                                  725 W. Commerce Ave, Ste. 106               110 Ridge Ave
 Framingham, MA 01701-0989                   Gilbert, AZ 85233-4321                      Bloomingdale, IL 60108-1209
 ERS-OCI Wireless LLC                        EH Publishing, Inc. d.b.a. EH               ESHIPUSA
 2331 Fortune Dr                             Media                                       2240 Palm Beach Lakes Blvd
 Suite #210                                  111 Speen Street, Ste 200                   Suite 303
 Lexington, KY 40509-4264                    Framingham, MA 01701-2090                   West Palm Beach, FL 33409-3405
 ESP Wireless Tech-Axiom                     ERS-OCI Wireless LLC                        EXPO Logic
 3330 Pollux Ave                             PO Box 110                                  553 Foundry Rd, East
 Las Vegas, NV 89102-8425                    Ligonier, IN 46767-0110                     Norristown, PA 19403-3901
 Eagle Communications LLC - NV               EWA Enterprise Wireless Alliance            Eagle Communications/DBA Radio
 180 River Street                            2121 Cooperative Way                        Network,
 Elko, NV 89801-4087                         Suite #225                                  34 Waterworks Way
                                             Herndon, VA 20171-5871                      Irvine, CA 92618-3107
 Ean Services, LLC                           Eagle Communications/DBA Radio              East Mountain Communications Inc
 PO Box 402383                               Network                                     103 North Clinton St.
 Atlanta, GA 30384-2383                      2 McLaren                                   Poughkeepsie, NY 12601-2008
                                             Suite D
                                             Irvine, CA 92618-2815
 Eastern Communications                      East Allen County Schools                   Ecuatronix CIA. LTDA. (Ecuador)
 48-14 36th Street                           124 State Road 930 E                        Azcunaga No. 274 Y Av.
 Long Island City, NY 11101-1918             New Haven, IN 46774-1376                    Brasil Quito, Ecuador
 Eddie Aguirre                               Echo Global Logistics Inc.                  EdgeTech Inc.
 1721 SW 64th                                22168 Network Place                         1127 E Pennsylvania Ave
 Miami, FL 33155-1968                        Chicago, IL 60673-1221                      Escondido, CA 92025-3208
 EdgeTech Wireless                           Edge Technology Distributors, Inc           Edlavitch DCJCC
 696 Saddleback Way                          2910 Kerry Forest Parkway                   1529 16th St NW
 San Marcos, CA 92078-6002                   Tallahasee, FL 32309-6892                   Washington DC, WA 20036-1466
 Eduardo Mendez                              Edgetech Inc.                               Edward Furey
 Fort Lauderdale, FL 33328                   336 State PL                                W347 S9140 Jordan Trail
                                             Escondido, CA 92029-1364                    Eagle, WI 53119-2309
 Edward M. Aguirre                           Edward Bonefas                              Electric Supply Inc.
 1721 Sw 64th                                1900 Flower St.                             PO Box 151657
 Miami, FL 33155-1968                        Mchenry, IL 60050-3728                      Tampa, FL 33684-1657
 Electrocomm                                 Eklectic Entertainment                      Electroinica Kiaras
 2648 Lapeer Road                            2743 Scarborough Drive                      Jr.Paruro 1359, Int.166
 Auburn Hills, MI 48326-1925                 Kissimmee, FL 34744-5485                    Lima, Peru
 Electronic Communications of WV,            Electrocomm                                 Electronic Search, Inc.
 Inc.                                        28 N. Saginaw Street                        5105 Tollview Dr
 408 Old Goff Mt. Road                       Pontiac, MI 48342-2140                      Suite 245
 Cross Lanes, VW 25313-1496                                                              Rolling Meadows, IL 60008-3786




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 Electronic Services Inc.                    Electronic Design & Development             Embassy Suites by Hilton Charlotte
 PO Box 474 8800 State Route 34              5072 28TH Place S.W.                        Uptow
 Winfield, WV 25213-0474                     Naples, FL 34116-7620                       401 East Martin Luther King Jr.
                                                                                         Blvd
                                                                                         Charlotte, NC 28202-2342
 Employment Development                      Electropower Utility Sales Co.              Enlight Communication
 Department                                  7765 S.W. 87th Ave                          2541 S. University Drive
 Bankruptcy Group MIC 92E                    Miami, FL 33173-2596                        Davie, FL 33324-5845
 PO Box 826880
 Sacramento, CA 94280-0001
 Entelec                                     Energy Telecommunications                   Enterprise Tolls
 3341 Regent Blvd                            and Electrical                              P.O. Box 30
 Irving, TX 75063-3128                       3341 Regent Blvd                            Roslyn Heights, NY 11577-0030
                                             Suite 130-325
                                             Irving, TX 75063-3128
 Enterprise Wireless Alliance, Inc           Entergy Services, LLC                       Euler Hermes ACI
 2121 Cooperative Way                        27780 Blue Star Memorial Hwy                Financial Dept 800 Red Brook
 Suite 225                                   Covert, MI 49043                            Blvd.
 Herndon, VA 20171-5871                                                                  Owings Mills, MD 21117
 Everett Public Schools                      Eric Michael Franks                         Exhibivent LLC
 2222 Everett Ave                            948 Old Highway 68                          1121 Palmer Court
 Everett, WA 98201-3704                      Sweetwater, TN 37874-6242                   Crystal Lake, IL 60014-6938
 Exhibivent LLC                              Exhibitvent, LLC                            Expeditors Intl-LA
 7322 Gleneagle Circles                      1121 Palmer Ct.                             12200 S. Wilkie Avenue
 Village of Lakewood, IL 60014-              Crystal Lake, IL 60014-6938                 Suite 100
 6715                                                                                    Hawthorne, CA 90250-1838
 Express Radio, Inc.                         Expeditors Cargo Insurance                  FPL
 10850 Wiles Road                            Brokers                                     General Mail Facility
 Coral Springs, FL 33076-2011                1015 3rd Ave                                Miami, FL 33188-0001
                                             Seattle, WA 98104-1184
 Falcon Direct, Inc                          FCCI Insurance Group                        Falmouth School Department
 36-20th Avenue NW                           PO Box 405563                               51 Woodville Rd
 Birmingham, AL 35215-4533                   Atlanta, GA 30384-5563                      Falmouth, ME 04105-2638
 Fast Radios                                 Falls of Pembroke                           Fatima Garcete
 941 High Point Drive                        13651 NW 4th Street                         1750 FM423
 Naples, FL 34103-3879                       Hollywood, FL 33028-2224                    Apt 456
                                                                                         Frisco, TX 75033-0517
 Fatima Garcete                              Fastsigns                                   FedEx
 906 Allen Street                            4070 N. Belt Line Rd, 118                   P O Box 660481
 Apt 1314                                    Irving, TX 75038-5000                       Dallas, TX 75266-0481
 Dallas, TX 75204-5983
 FedEx                                       Fayette Electronics &                       Fedex National Ltl
 PO Box 1140                                 Communications                              PO Box 95001
 Dept. A                                     12251 175th Street                          Lakeland, FL 33804-5001
 Memphis, TN 38101-1140                      Fayette, IA 52142-9507
 Ferrocariles De Antogasta                   Fedex Ground Cargo Claims                   Fine Communications
 Bolivar No. 255 PO Box S-T                  100 Omega Drive                             PO Box 958 Alcoa,
 Antofagasta, Chile                          Pittsburgh, PA 15205                        Alcoa, TN 37701-0958
 Finnegan Henderson Farabow                  Final Touch Interiors, Inc.                 Fiplex Communications, Inc.
 Garret & Dunner LLP                         1835 E Hallandale Beach Blvd                7331 N.W. 54 Street
 Attn. Christopher T Blackford               Unit #139                                   Miami, FL 33166-4831
 901 New York Avenue, NW                     Hallandale, FL 33009-4619
 Washington, DC 20001-4432


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 Fiplex Communications, Inc.                 Finnegan, Henderson, Farabow,               First Responder Communication
 Drawer 2346, PO BOX 5935                    Garret & Dunne                              8262 W. Portland Ave
 Troy, MI 48007-5935                         c/o Christopher J. Giaimo, Esq.             Littleton, CO 80128-4495
                                             2550 M Street, N.W.
                                             Washington, DC 20037-1301
 Fisher Wireless Services, Inc.              Fire Ranger                                 Flashbay Inc.
 14530 S Commercial Street                   4009 NE 6 Ave                               569 Clyde Avenue
 Blythe, CA 92225-2755                       Fort Lauderdale, FL 33334-2208              Suite 500
                                                                                         Mountainview, CA 94043-2257
 Fleet Connect Inc.                          Flanigan Communications LLC                 Flint Hills Communications, LLC
 PO Box 4031                                 109 E Woodsfield Street                     1125 Westpost Drive
 Sanford, NC 27331-4031                      Norton, KS 67654-1620                       Manhattan, KS 66502-3026
 Flood Brothers                              Fleetistics                                 Florida Department of State
 PO Box 4560                                 2604 Cypress Ridge Blvd,                    500 South Bronough Street
 Carol Stream, IL 60197-4560                 Suite 101                                   Tallahassee, FL 32399-0250
                                             Wesly Chapel, FL 33544-6311
 Florida Department of                       Florida Department of Revenue               Florida Dept of Revenue/State
 Transportation                              5050 W Tennessee Street                     5050 W Tennessee St
 PO Box 880029                               Tallahassee, FL 32399-0100                  Tallahassee, FL 32399-0100
 Boca Raton, FL 33488-0029
 Florida Division of Corporations            Florida Dept of Revenue                     Force Transport
 The Centre of Tallahassee                   Office of General Counsel                   PO Box 450356
 2415 N Monroe Street                        P.O. Box 6668                               Fort Laundersale, FL 33345-0356
 Suite 810                                   Tallahassee, FL 32314-6668
 Tallahassee, FL 32303-4112
 Forte Comunicaciones SA DE CV               Flower City Communications                  Frank Dombrowski
 Ave.Lazaro Cardenas 2932 Int B              1848 Lyell Ave.                             11430 NW 29th Place
 US                                          Rochester, NY 14606-2318                    Sunrise, FL 33323-1639
 Frank Sampedro                              Franchise Tax Board                         Freeborn & Peters LLP
 12639 Belleflower Lane                      Attention Bankruptcy                        311 South Wacker Drive
 Fredericksburg, VA 22407-6614               PO Box 2952                                 Suite 300
                                             Sacramento, CA 95812-2952                   Chicago, IL 60606-6699
 Freedom Communication                       FreCom Inc                                  Frontier Radio
 Technologies                                P.O. Box 22                                 212 Carpenters Union Way
 2002 Synergy Drive                          West Grove, PA 19390-0022                   Suite 800
 Suite 200                                                                               Las Vegas, NV 89119-4231
 Kilgore, TX 75662-7799
 GATT Communications, Inc.                   Freeman                                     GLB Parts
 20 E. 49th St 5th Fl                        841 Joseph E Lowery Blvd N W                Gilson Leonarczyk Barbosa
 New York City, NY 10017-1039                Atlanta, GA 30318-5225                      Rua Maria da Luz Rocha Belao,
                                                                                         404
 GLB Solutions                               GCSEAC, Inc.                                GMRS Outlet, LLC
 PO Box 228354                               200 Sellers Street                          2580 Simons Road
 Miami, FL 33222-8354                        Martinsville, VA 24112-3537                 Oswego, IL 60543-9499
 GTS Radio-d/b/a Air Comm, Inc               GMRS Outlet, LLC                            Garfield Adrian Wilson
 4840 S. 35th Street                         203 Lizska Lane                             21011 Osterman Rd Apt #A105
 Phoenix, AZ 85040-2852                      Owego, IL 60543-2500                        Lake Forest, CA 92630-7909
 Garrick Brian Vanderwal                     Gabriel Stanhope                            Gary M. Schofield
 1340 Baur Blvd                              62 Bedford St. #1                           822 NE 115TH Street
 Saint Louis, MO 63132-1903                  Waltham, MA 02453-3583                      Seattle, WA 98125-6220
 Gary Rose                                   Garvin Promotion Group LLC                  Gem Electronics of Monmouth, Inc.
 115 National Ave Ste A                      7405 East Monte Cristo Ave.                 400 West Harlem
 Bremerton, WA 98312-3656                    Scottsdale, AZ 85260-1618                   Monmouth, IL 61462-1101


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 General Communications                      Gately Communications                       General Services Administration
 2880 Commerce Park Drive                    501 Industry Drive                          P.O. Box 979009
 Madison, WI 53719-5129                      Hampton, VA 23661-1314                      Saint Louis, MO 63197-9009
 George Spencer                              General Communications                      GigaParts, Inc.
 9083 Moriset Ct                             5157 Anton Drive                            PO Box 11367
 Delray Beach, FL 33446-3684                 Madison, WI 53719-1784                      Huntsville, AL 35814-1367
 Gila Electronics-Axiom                      Georgia Two-Way, Inc.                       Gina Gardenhire
 2481 E. Palo Verde Street                   1206 GA Hwy 30 West                         875 North Mill Street, Ste A
 Yuma, AZ 85365-3619                         Americus, GA 31719-8927                     Lewisville, TX 75057-3187
 Glades Investments Group Intl               Gillard Construction &                      Glen Goebel
 8590 Nadmar Avenue                          Communication                               700 W Rock Place, Glendale, WI
 Boca Raton, FL 33434-5427                   1004 San Gabriel Ave                        53209 US
                                             Henderson, NV 89002-8914                    Glendale, WI 53209-6528
 Global Experience Specialist,B of           Gleisy L Sopena                             Global Technical Systems
 A                                           5550 Nw 192 Ln                              2270 W. Morton Ave
 P.O. Box 96174                              Miami Gardens, FL 33055-6106                Jacksonville, IL 62650-2627
 Chicago, IL 60693-6174
 Global Test Equipment                       Global Experience Specialists, Inc.         Goin' Mobile, LLC dba Crystal
 1424 Centre Circle                          7000 Lindell Road                           Clear Co
 Downers Grove, IL 60515-1021                Las Vegas, NV 89118-4702                    690 Saratoga Rd
                                                                                         #130
                                                                                         Burnt Hills, NY 12027-9402
 Goodheart Brand Speciality Food             GoDaddy.com, LLC                            Government Wireless Tech &
 Co.                                         14455 N Hayden Road                         Comm
 11122 Nacogdoches Road                      Ste 100                                     4109 Olney-laytonsville Road
 San Antonio, TX 78217-2314                  Scottsdale, AZ 85260-3489                   Olney, MD 20832-1803
 Governor's Hurricane Conference             Government Contract Consultant              Grant Reade
 1401 Maclay Commerce Drive                  LLC                                         7 2nd St.
 Tallahassee, FL 32312-3908                  8762 Berline Drive                          Yorkville, NY 13495-1621
                                             San Diego, CA 92119
 Graystone Partners, LLC.                    GraCom Solutions LLC                        Greenleaf Foods, SPC
 5151 N Oracle Rd                            42 County Road 1495                         3901 7th Avenue South
 Suite 209                                   Cullman, AL 35058-1150                      Seattle, WA 98108-5206
 Oro Valley, AZ 85704-3757
 Greg Dittlinger                             Greater California Fire Sprinkler           Greg Pickarski
 242 Bland Ave                               P.O. BOX 402                                5250 Pleasure Island Rd
 Benton, MO 63736-9247                       Yorba Linda, CA 92885-0402                  Orlando, FL 32809-3568
 Gregg Frey                                  Greg Lieber                                 Gregory Dittlinger
 2303 Sir Edward Lane                        11949 Shallowbrook Drive                    242 Bland Ave. Be
 Maryville, TN 37803-8303                    Saint Louis, MO 63146-4730                  Benton, MO 63736-9247
 Gregory H Bowswell                          Gregg Pruitt                                Gregory Lieber
 412 Roosevelt Ct                            3315 Commerce Parkway                       11949 Shallowbrook Drive
 Ventura, CA 93003-2593                      Hollywood, FL 33025-3954                    St. Louis, MO 63146-4730
 Gregory Williams                            Gregory J Pruitt                            Groups Meetings Incentives, Inc.
 1720 4th Ave S                              PO Box 53031                                1700 Niagara Lane
 Seattle, WA 98134-1502                      Knoxville, TN 37950-3031                    Suite 100
                                                                                         Minneapolis, MN 55447-4911
 Grupo Atayan S.A. de C.V.                   Groton Dunstable School District            HC Global
 Fujiyama 142 Col. Las Aguilas               344 Main Street                             358 Main Street North
 Alvaro, Obregon, CDMX CP 01710              Groton, MA 01450-1234                       Huntingdon, PA 15642-4332
 HMS Motorsport                              H2O Digital Marketing                       HRO, Inc.dba Ham Radio Outlet
 119 Bevan Dr.                               9011 Leslie Street Suite 204                933 N. Euclid Street
 Mooresville, NC 28115-7154                  Richmond Hill, ON L4B 3B6                   Anaheim, CA 92801-3633


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 HTY North America, Inc.                     HRO, Inc.dba Ham Radio Outlet               Hampton Inn & Suites
 320 International Pkwy                      110 Tampico, #110                           10990 Marks Way
 Sunrise, FL 33325-6240                      Walnut Creek, CA 94598-2961                 Hollywood, FL 33025-1705
 Harmer Radio & Electronics, Inc             Hall Prangle & Schoonveld, L.L.C.           Hartford Healthcare
 300 Hoohana Street                          200 South Wacker Drive                      189 Storrs Road
 Kahuiui, HI 96732-2966                      Suite 3300                                  Manchester Center, CT 06250-1683
                                             Chicago, IL 60606-5816
 Harty and Moore Radio                       Harris Corp. Public Saftey And              Hazardous Material Compliance
 2100 E. Blackstock Rd.                      Prof Comm                                   Inc
 Roebuck, SC 29376                           PO Box 9001                                 PO Box 520596
                                             Melbourne, FL 32909                         Miami, FL 33152-0596
 Heywood Hospital                            Haynes Communications                       HighJump - Accellos Inc
 242 Green Street                            24261 S 1250 Rd                             90 S Cascade Avenue
 Gardner, MA 01440-1373                      Moundville, MO 64771-9223                   Suite 1200
                                                                                         Colorado Springs, CO 80903-1678
 Highland Wireless Services, LLC             Hi-Tech/SMR Communications                  Hilton Dallas Lincoln Centre
 4400 N. Federal Hwy                         255 Bell Road                               5410 LBJ Fwy
 Boca Raton, FL 33431-5187                   Suite A                                     Dallas, TX 75240-2638
                                             Niles, MI 49120-4016
 Hilton Fort Lauderdale Beach                Hilcraft                                    Hinckley Springs
 Resort                                      P.O Box 110687                              PO Box 660579
 505 N Ft Lauderdale Beach Blvd.             Hialeah, FL 33011-0687                      Dallas, TX 75266-0579
 Fort Lauderdale, FL 33304-4109
 Hinkley Springs                             Hilton Garden Inn                           Holst v. Patten
 6750 Discovery Blvd                         Albany, NY 12206                            P.O. Box 102-1000
 Mableton, GA 30126-4646                                                                 San Jose, Costa Rica
 Holy Rosary                                 Hitech Radio Communications                 Hotel Indigo Waterfront Place
 770 Aloha St                                17306 NW 74th ave                           1028 13th Street
 Edmonda, WA 98020-3019                      Apt 101                                     Everett, WA 98201-1650
                                             Hialeah, FL 33015-7165
 HOTEL PRESTON                               Homeland Safety Systems                     Hub City Technical
 733 ENVIOUS LN                              534 Caudron Lane                            98 Malibu Drive
 NASHVILLE TN 37217-1348                     New Iberia, LA 70560-6229                   Spartanburg, SC 29303-2050
 USPS change
 Hugh Cullin                                 Howard Newman                               Hydro Backflow
 7344 East Hinsdale Drive                    2307 E Redwood                              1418 S Azusa Ave #4055
 Centennial, CO 80112-1753                   Chandler, AZ 85286-2799                     West Covina, CA 91791-6002
 Hytera - America Canada                     Hunter Romero                               Hytera America
                                             102 Portsmouth Dr.                          3315 Commerce Parkway
                                             Broussard, LA 70518-3507                    Miramar, FL 33025-3954
 Hytera America - DR                         Hytera - America Latina                     Hytera Co., Ltd. (Russia)
 Jose Amado Soler No 14, Serralles           3315 Commerce Pkwy
 Santa Domingo, DM 10127                     Miramar, FL 33025-3954
 Hytera Comm. America (West) Inc.            Hytera America Inc.                         Hytera Communicacoes do Brasil
 8 Whatney                                   320 International Pkwy                      Ltda
 Unit 200                                    Sunrise, FL 33325-6240                      Al Mamore, 535 18o Andar Sala
 Irvine, CA 92618-2880                                                                   1801
                                                                                         Alphaville Industrial Barueri
                                                                                         San Paolo, Brasil




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 Hytera Communications (Australia)           Hytera Communications (Canada)              Hytera Communications (Canada)
 PTY LT                                      11-100 Leek Crescent                        Inc.
 53 Brandl St.                               Richmond Hill, ON L48 3E6, CA               100 Leek Crescent, Unit 11
 Queensland, Australia 04113-0000                                                        Richmond Hill
                                                                                         ON, L4B 3E6
                                                                                         Canada
 Hytera Communications (Hong                 Hytera Communications (U.K.)                Hytera Communications Corp.
 Kong)                                       Co.Limited                                  Limited
 Company Limited                             939 Yeovil Road                             Hytera Tower
 Unit 10 on 22nd Floor Ricky Centre          Slough, Berkshire SL1 4NH                   Hi-Tech Industrial Park North
 No 36 YIP Street                                                                        9108#Beihuan Road, Nanshan
 Kowloon, Hong Kong                                                                      District
                                                                                         Shenzhen, Guangzhou China
 Hytera Communications Corp., Ltd.           Hytera Communications                       Hytera Communications(Canada)
 Shenzhen High-Tech Industrial               Corporation Ltd                             Inc.
 Park                                        HYT Tower, Shenzhen High Tech               11-100 Leek Crescent
 North Beihuan Road                          Industrial                                  Richmond Hill, Canada L4B 3E6
 Nanshan District                            Nanshan District Shenzhen,
 Shenzhen, China                             P.R.C.,, Chin
 Hytera Comunicacoes do Brasil               Hytera IL                                   Hytera Mobilfunk GMBH
 Ltda.                                       1916 Wright Blvd                            Sucursal Del Peru
 Rua Florida, 1703, CONJ 81                  Schaumburg, IL 60193-4564                   Av. Benavides 1238 Oficina 401
 Brazil CP 04565-001                                                                     Mira
                                                                                         Lima, Peru
 Hytera Mobilfunk GmbH                       Hytera Mobilfunk GmbH Sucursal              ID Radios
 Fritz-Hahne-Strasse 7                       del Peru                                    La Capitania 80 Oficina 218
 Bad Munder, Germany, 31848                  Av. Alfredo Benavides 1238                  Las Condes, Chile
                                             Miraflores, Peru
 ID-Tech Solutions                           IE Communications                           IECESC
 505 East County Line Rd                     1340 Baur Blvd                              806 Barbara Drive
 Lakewood, NJ 08701-1489                     Saint Louis, MO 63132-1903                  Muldrow, OK 74948-3017
 IMEQ - Industrial Material &                ISD 197 School Age Care                     ISE, S.A. DE C.V.
 Equipment,                                  1979 Summit Lane                            Col. San Francisco
 8105 N.W. 29th Street                       Mendota Heights, MN 55118-4155              San Salvador, El Salvador
 Miami, FL 33122-1051
 ILLINOIS DEPARTMENT OF                      ILLINOIS SECRETARY OF                       Illinois Dept. of Revenue
 REVENUE                                     STATE                                       PO Box 19030
 BANKRUPTCY UNIT                             298 HOWLETT BUILDING                        Springfield, IL 62794-9030
 PO BOX 19035                                SPRINGFIELD IL 62756-0001
 SPRINGFIELD IL 62794-9035
 Illinois Secretary of State                 Independent Studio Services                 Impact Radio Accesories
 100 W Randolph                              9545 Wentworth Street                       1290 St. Paul Street
 Chicago, IL 60601-3273                      Sunland, CA 91040-1626                      Suite 309
                                                                                         Kelowna, VIY 2C9 Canada
 In-Line Two Way Radio                       Industrial Communications                   Indian Community School
 31858 Castaic Road No. 143                  16610 E Sprague Ave                         10405 W Saint Martins Road
 Castaic, CA 91384-3943                      Veradale, WA 99037-8967                     Franklin, WI 53132-2421
 Indianapolis Communications, Inc.           Industrial Electronics                      Industrial Communications
 245 North Range Line Road                   1009 Madison Avenue                         350 NW 215 St
 Carmel, IN 46032-1744                       Scranton, PA 18510-1098                     Miami, FL 33169-2122
 Industrial Communications LLC               Informa Business Media                      Industrial Training Center
 1720 4th Ave S                              24654 Network Place                         4281 NW 167th Street
 Seattle, WA 98134-1502                      Chicago, IL 60673-1246                      Miami, FL 33055-4423


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 Infinity Wireless, Inc.                     Innovera Limited                            Ingenious
 9494 Hemlock Lane N                         6007 Plum Isle Way                          Calzade de Azcapotzalco
 Maple Grove, MN 55369-5506                  Tamarac, FL 33321-6354                      La Villa 988 Colnia Industria
                                                                                         Vallejo, Mexico City MX
 InnerWorkings                               Insitel S.A                                 Insight Direct USA, Inc.
 7503 Solution Center                        Calle 144 # 21 - 44                         910 W. Carver Road
 Chicago, IL 60677-7005                      Bogota, Columbia                            Suite 110
                                                                                         Tempe, AZ 85284-5265
 Insight Global                              Intellitech Wireless Systems                Integrated Circuits
 P.O. Box 198226                             20725 Ne 16 Ave A-44                        806 Cedar
 Atlanta, GA 30384-8226                      Miami, FL 33179-2142                        Yukon, OK 73099-1026
 Integrity Communications &                  International Agri-Center,Inc.              Intepla S.R.L.
 Electronics,                                4500 South Laspina St                       Calle 14 No. 1286
 1322 East County Road 100                   Tulare, CA 93274-9165                       La Plata, Argentina
 Kokomo, IN 46901
 Internal Revenue Service                    International Video Comm. LLC               International Paper
 PO Box 7346                                 15239 SW 31st Street                        3904 W. Ferguson Road
 Philadelphia, PA 19101-7346                 Miami, FL 33185-5651                        Ft. Wayne, IN 46809-3150
 International Radio LLC                     Ion, Inc.                                   Interstate Comm. & Electronics
 14651 Biscayne Blvd                         11550 Stillwater Blvd N #123                652-D State Street
 # 101                                       Lake Elmo, MN 55042-8613                    Beaver, PA 15009-9520
 Miami, FL 33181-1211
 Inversiones En Tecnologia I.T.S.A           Irvine Office and Storage                   IOWA DEPARTMENT OF
 P.O. Box 102-1000                           4540 Campus Drive, Ste. 100                 REVENUE
 San Jose, Costa Rica                        Newport Beach, CA 92660-1815                ATTN BANKRUPTCY UNIT
                                                                                         PO BOX 10471
                                                                                         DES MOINES IA 50306-0471
 Ira Knigin                                  J & A Communications, LLC                   Irvine Ranch Water District
 2866 Clubhouse Road                         4704 N. 550 W.                              PO Box 51403
 Merrick, NY 11566-4804                      Fairland, IN 46126-9808                     Los Angeles, CA 90051-5703
 Israel Pagan JR                             J & S Communications, LLC                   J & K Communications, Inc
 3865 NW 115th Terrace                       2701 Stringtown Road                        222 South Towerview Drive
 Sunrise, FL 33323-1113                      Evansville, IN 47711-3391                   Columbia City, IN 46725-8799
 J & R Comm. & Electronics, Inc.             JA Communications Enterprises               J&H Radio
 P.O. Box 305                                LLC dba Fi                                  191 Belleville Ave
 Baldwyn, MS 38824-0305                      505 Airline Dr.                             Belleville, NJ 07109-2435
                                             Coppell, TX 75019-4610
 J.J. Keller & Associates, Inc.              JT&T Radio Solutions, LLC                   JLB Florida
 PO Box 6609                                 375 S Jerome Drive                          600 W. Hillsboro Blvd
 Carol Stream, IL 60197-6609                 Wasilla, AK 99654-7739                      Suite 130
                                                                                         Deerfield Beach, FL 33441-1610
 JPJ Electronic Communications Inc           Jacob Miller                                Jackson Communication Service,
 1 W. Whitesboro St                          9947 Kilternan Rd.                          LLC
 Yorkville, NY 13495-1635                    Pineville, NC 28134-7338                    1309 E Ridgewood Road
                                                                                         Jasper, AL 35504-7123
 Jackson Lewis P.C.                          James F. Pingitore                          Jaguar/Land Rover Newport BCH
 75 Park Plaza                               10 Locust St                                1540 Jamboree Rd
 Boston, MA 02116-3941                       Angola, NY 14006-1104                       Newport Beach, CA 92660-5912
 James Atkinson                              James Whitehead                             James Lambrecht
 47 Robinson Road                            5122 Running Doe Drive                      2824 West 102nd Place
 Bethnal Green, London E2 9LX                Suwanee, GA 30024-4134                      Evergreen Park, IL 60805-3547
 James M. Reville                            Jani-Kinf of IL                             Jamie Hughes
 7 Butternut Rd                              2791 Monentum Place                         6962 Treemont LN NE
 Cheektowaga, NY 14227-2257                  Chicago, IL 60689-5327                      Bremerton, WA 98311-9500
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 Janet Garcia                                Jeffery S. Hill                             Jannine Herrera Corea
 7610 Stirling Rd                            416 Brackett St                             2259 SW 80 Terrace
 G-108                                       Swansea, IL 62226-1612                      Miramar, FL 33025-2289
 Hollywood, FL 33024-8419
 Jeff Hill                                   Joey Gabriel                                Jesus Alberto Soberon
 416 Brackett St. S                          1608 W Terra Mar Drive                      2423 Harding St.
 Swansea, IL 62226-1612                      Pompano Beach, FL 33062-6818                Hollywood, FL 33020-2348
 Joel Mills                                  John Gabriel                                John Butler
 2111 Ivy Cove                               951 Nw 51st Pl                              44 Park Ave
 Katy, TX 77494-4615                         Suite #B                                    Wethersfield, CT 06109-1629
                                             Fort Launderdale, FL 33309-3102
 John Clark                                  Johnny Shih, CPA                            John Hickey
 4847 California Ave SW                      21777 Ventura Blvd #246                     26633 S. Anna Ln
 Unit 305                                    Woodland Hills, CA 91364-1870               Monee, IL 60449-8935
 Seattle, WA 98116-4470
 John Marcel                                 Jomtel Telecommunicacions SA de             Johnson Controls Security
 60 Lilac St.                                CV                                          Solutions
 Penacook, NH 03303-1892                     Laureles No.46                              P.O. BOX 371967
                                             Col.Jardines de Atizapan                    Pittsburgh, PA 15250-7967
                                             Atizapan de Zaragoza
                                             Estado de Mexico, CP 52978
 Johnson Morgan & White                      Jose L. Rodriguez                           Jomtel Telecomunicaciones SA de
 6800 Broken Sound Pkwy                      Pompano Beach, FL 33063                     CV
 Suite 201                                                                               Laureles No 46 Col Jardines De
 Boca Raton, FL 33487-5709                                                               Atizapan
                                                                                         Mateos, Mexico 52978-0000
 1448 W Montrose Ave                         Joshua L. Simmons                           Jose Rivera
 Apt 2E                                      Kirkland & Ellis LLP                        6191 Orange Drive
 Chicago, IL 60613-5461                      601 Lexington Avenue                        Suite 4466
                                             New York, NY 10022-4643                     Davie, FL 33314-3460
 Joseph George Froehlich                     K.R. Nida Corp                              JurisLogic LLC
 2009 Boulder Dr Plano TX 75023              3827 Foothill Blvd                          25 NW 23rd Place
 US                                          La Crescenta, CA 91214-1619                 Suite 6, PMB 169
 Plano, TX 75023-6537                                                                    Portland, OR 97210-5580
 K&J Landscape Services                      KX Group Inc                                KC Wireless, Inc
 4540 Campus Drive                           18750 Colima Rd, Suite E                    1507 W. 23rd Street
 Newport Beach, CA 92660-1815                Roland Heights, CA 91748-2962               Independence, MO 64050-4211
 KNect365 US, Inc                            Keller Communications / Clear Call          Ka-Comm Inc.
 PO Box 419290                               13465 Midway Rd. Suite 201                  326 South Clark Street
 Boston, MA 02241-9290                       Dallas, TX 75244-5115                       Salina, KS 67401-3838
 Karon Rutsch                                Kelly Tractor                               Keller Communications / Clear Call
 5 Roeper Dr.                                2801 Reese Road                             4020 McEwen
 Saint Peters, MO 63376-1453                 Davie, FL 33314-1201                        Suite #165
                                                                                         Dallas, TX 75244-5066
 Kelley Communications, Inc.                 Kenny Adamson                               Kenneth J. Brody
 1902 N. Country Club Drive                  20805 119th Ave SE                          PO Box 68
 Mesa, AZ 85201-1700                         Kent, WA 98031-2184                         Cary, NC 27512-0068
 Kenneth L.Williams                          Kevin Nolan                                 Kerr Communications
 5046 Tennessee Capital Blvd                 2725 Sandstone Dr                           PO BOX 69
 Tallahassee, FL 32303-7812                  Grapevine, TX 76051-2409                    Plains, MT 59859-0069
 Kevin Barry                                 Khavarian Enterprises, Inc D/B/A            Keystaff Inc
 13262 SE 43rd PL                            Vision                                      PO Box 4249
 Bellevue, WA 98006-2119                     P.O. Box 598                                Saint Paul, MN 55104-0249
                                             Lakewood, CA 90714-0598
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 Khavarian Enterprises, Inc D/B/A            King Freight New York Inc                   Kimberly Belew
 Vision                                      1099 Wall St.                               122 Mt. Pisgah Rd
 4501 E Pacific Coast Hwy                    Suite 349                                   Bradford, TN 38316-9778
 Long Beach, CA 90804-3228                   Lyndhurst, NJ 07071-3617
 King Freight (USA) Inc.-California          Kirkland & Ellis LLP                        King of Construction
 10900 E 183rd St                            Attn. Akshay S. Deoras                      1781 Fargo Blvd.
 Suite 110                                   555 California Street                       Geneva, IL 60134-7518
 Cerritos, CA 90703-9881                     San Francisco, CA 94104-1503
 Kirkland & Ellis LLP                        Kirkland & Ellis LLP                        Kirkland & Ellis LLP
 Attn. Adam R. Alpert                        Attn. Benjamin A. Herbert                   Attn. Amir Freund
 555 California Street                       555 South Flower Street                     333 Hillview Avenue
 Suite 2700                                  Los Angeles, CA 90071-2411                  Palo Alto, CA 94304
 San Francisco, CA 94104-1603
 Kirkland & Ellis LLP                        Kirkland & Ellis LLP                        Kirkland & Ellis LLP
 Attn. Barbara Nora Barath                   Attn. Christopher Lawless                   Attn. Benjamin Aaron Yaghoubian
 555 Californis Street                       555 South Flower Street                     2049 Century Park East
 Suite 3700                                  Los Angeles, CA 90071-2411                  Los Angeles, CA 90067-3101
 San Francisco, CA 94104-1503
 Kirkland & Ellis LLP                        Kirkland & Ellis LLP                        Kirkland & Ellis LLP
 Attn. Brandon Hugh Brown                    Attn. Justin Singh                          Attn. David Rokach
 555 California Street                       555 South Flower Street                     300 North LaSalle Street
 Suite 2700                                  Los Angeles, CA 90071-2411                  Chicago, IL 60654-5412
 San Francisco, CA 94104-1603
 Kirkland & Ellis LLP                        Kirkland & Ellis LLP                        Kirkland & Ellis LLP
 Attn. Joshua I. Simmons                     Attn. Michael W. De Vries                   Attn. Katherine M. Burke
 601 Lexington Avenue                        555 South Flower Street                     655 Fifteenth Street, N.W.
 New York, NY 10022-4643                     Los Angeles, CA 90071-2411                  Washington, DC 20005-5701
 Kirkland & Ellis LLP                        Kirkland & Ellis LLP                        Kirkland & Ellis LLP
 Attn. Megan Margaret New                    Leslie A. Schmidt                           Attn. Natalie Flechsig
 300 North LaSalle Street                    601 Lexinghton Ave                          555 Californis Street
 Chicago, IL 60654-5412                      New York, NY 10022-4611                     San Francisco, CA 94104-1503
 Kirkland & Ellis LLP                        Konica Minolta                              Klein Electronics
 Attn. Reza Dikhanchy                        P.O. Box 41602                              349 N Vinewood St
 555 Californis Street                       Phildelphia, PA 19101-1602                  Escondido, CA 92029-1338
 San Francisco, CA 94104-1503
 Koepplin Farms                              Kuntz Farms                                 Kosher Food Depot
 7874 Hwy 49                                 6765 66th St SW                             1279 42nd Street
 New Leipzig, ND 58562-9761                  Elgin, ND 58533-9219                        Brooklyn, NY 11219-1336
 Kristen Pope, LLC                           L & W Emergency Equipment, Inc.             Kurt Whitlock Associates, Inc.
 PO Box 391                                  332 South Main Street                       1437 Hamlin Ave
 Victor, ID 83455-0391                       Lawrenceburg, KY 40342-1216                 Saint Cloud, FL 34771-8576
 L & B Electronics                           LG Communications & Service                 L Christopher Gay
 113 Midway Rd.                              147 Swansea Mall Drive S                    Chris Gay
 Eldon, MO 65026-5324                        Swansea, MA 02777-4142                      VP Sales & Operations
                                                                                         12430 107th Pl NE
                                                                                         Kirkland WA 98034-8800
 LDS Cleaning & Maintenance                  Lakeland Communications                     Ladycomm
 PO Box 292648                               P.O. Box 205                                P.O. Box 1721
 Fort Launderdale, FL 33329-2648             Wadsworth, IL 60083-0205                    Melrose, FL 32666-1721
 Laird Technologies                          Lasuca Farm LLC                             Lakeland Communications
 1181 Momentum Place                         6092 Resweber Hwy                           P.O. Box 820
 Chicago, IL 60689-0001                      Saint Martinville, LA 70582-6804            Lake Villa, IL 60046-0820



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 Lannon Stone Products Inc                   Leann Rodriguez                             Laura Cheshire
 N52 W23096 Lisbon Rd                        1049 Acorn Ln                               6 Merriwood Lane
 Sussex, WI 53089-4428                       Burleson, TX 76028-6257                     Green Brook, NJ 08812-2021
 Lauttamus Communications                    Legacy Office Solutions                     Leann Rodriguez
 1334 Cove Hill Road                         754 Jamaica Avenue                          905 Walnut St
 Weirton, WV 26062                           Brooklyn, NY 11208-1425                     Burleson, TX 76028-7065
 Leavitt Commuincations, LLc                 Leonard Christopher Gay                     Leischner Electric Inc. dba Unicom
 7508 N Red Ledge Drive                      8468 NE 170th St                            3811 Lockport St Suite 1
 Paradise Valley, AZ 85253-2850              Kenmore, WA 98028-3928                      Bismarck, ND 58503-5554
 Lenovo Inc.                                 Levick Strategic Communications,            Leonardo Guevara
 P.O. Box 643055                             LP                                          4404 Sw 160th Avenue
 Pittsburg, PA 15264-3055                    1900 M Street                               Apt #830
                                             NW Washington, DC 20036-3531                Hollywood, FL 33027-5774
 Level One Excavating                        Lichterman Technical Services               Libarcom Group Inc.
 3500 Global Drive                           116 S.W. 2nd Ave.                           Weston, FL 33326
 Bismarck, ND 58501-2511                     Hallandale, FL 33009-5420
 Liberty Mutual                              Link America LLC                            Lincoln Land Communications
 PO Box 85834                                3002 Century Drive                          1326 N. Kickapoo
 San Diego, CA 92186-5834                    Rowlett, TX 75088-7542                      Lincoln, IL 62656-1827
 Linda J. Harmon                             Logistic Solutions                          Link MCS LLC
 2831 Lakeshore Drive                        12523 Limonite Ave                          600 East Centre Park Blvd
 Saint Joseph, MI 49085-2570                 Suite 440-391                               De Soto, TX 75115-2499
                                             Mira Loma, CA 91752-3665
 Lintong Qi                                  Loudoun County Public Schools               Logistica Humanitaria
 3315 Commerce Pkwy                          21000 Education Court                       Tread well Lp. 1122,
 Hollywood, FL 33025-3954                    Suite #313                                  Clayton Ciudad de, Panama
                                             Ashburn, VA 20148-5526
 Logos Professional Law Corp                 MKS S.A.                                    MD Comunicaciones Y Equipos
 34 Executive Park                           Avda. Antonio Varas No. 2287                Carratera Mella KM 8 1/2 Local 2K
 Suite 275                                   Santiago, Chile                             Santo, Dominican Republic
 Irvine, CA 92614-4708
 MGR Electronics Corp                        Mace Incorporated                           MP Design & Printing
 13978 SW 139 Court                          5821 Arrowhead Drive                        272 E. Garvey Ave. M
 Miami, FL 33186-5598                        Suite 101                                   Monterey Park, CA 91755-1849
                                             Virginia Beach, VA 23462-3259
 MSAD 52                                     Magycorp S.A.                               Madawaska School Department
 486 Turner Center Rd                        Calle Cub Scout #41, Ensanche               328. St. Thomas Street
 Turner, ME 04282-3954                       Naco,                                       Suite 201
                                             Santo Domingo, Dominican                    Madawaska, ME 04756-1200
                                             Republic
 Magic Colors Painting, Inc.                 Maison Moving                               Maine Radio
 PO Box 87376                                1371 Santa Fe Dr                            PO Box 7264
 Carol Stream, IL 60188-7376                 Tustin, CA 92780-6433                       Scarborough, ME 04070-7264
 MaineStream Solutions LLC                   Marcus Communications LLC                   Majestic Fire Protection
 15 Crovemount Lane                          PO Box 1498                                 4804 Laurel Canyon Blvd.
 Lewiston, ME 04240-4518                     Manchester, CT 06045-1498                   Suite 757
                                                                                         Valley Village, CA 91607-3717
 Map Your Show                               Mark Cline                                  Maria Brancaccio-Fleet
 PO Box 638886                               1016 Lila Drive                             80 Willington Ave
 Cincinnati, OH 45263-8886                   Murfressboro, TN 37128-7713                 Stafford Springs, CT 06076-1637
 Marine Imaging Systems S.A.                 Mark Maynard                                Mark Greenlee
 Avda. Barros Arana 333 Caleta               271 Thornapple Court                        16279 Dutch Barn Drive
 Amarilla                                    Delaware, OH 43015-3717                     Lakeville, MN 55044-2421
 Concon, Chile
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 Mark Jordan                                 Marlin Capital Solutions                    Mark Rosen
 31622 N Blackfoot Dr                        300 Fellowship Road                         80 Jonathan Drive
 San Tan Valley, AZ 85143-6336               Mount Laurel, NJ 08054-1201                 Mahopac, NY 10541-2209
 Marlin Business Bank                        Martin Gregory Bleck                        Marriot Business Services
 PO Box 13604                                N9220 Dohm Dr Apt 2 Belleville              P.O. Box 402642
 Philadelphia, PA 19101-3604                 WI 53508                                    Atlanta, GA 30384-2642
                                             Belleville, WI 53508-8912
 Martha Cleaning Services                    Matthew Bussey                              Mary McIlquham
 8449 Lakeview Trail                         7531A Byron Place                           2821 12th St.
 Parkland, FL 33076-4140                     St. Louis, MO 63105-2703                    Eau Claire, WI 54703-2718
 Matt Lunati                                 McCarter Communications                     Matthew John Risley
 650 N. Penrod Road #175                     1810 Hammer Road                            2133 Valley Rd.
 Show Low, AZ 85901-5284                     Dandridge, TN 37725-4482                    Oceanside, CA 92056-3110
 Matthew McPeak                              Meca Electronics Inc.                       McLaggan Comm. & Radar Service
 1405 Ridge Court                            459 East Main Street                        70 Giddens Rd
 Oakland Twp, MI 48306-1661                  Denville, NJ 07834-2595                     Hahira, GA 31632-6617
 McLaren Medical Center - Macomb             Mehaffy & Weber, A Prof. Corp.              Megahertz Technology, Inc
 PO Box 326                                  P.O. Box 16                                 5622 East University Blvd.
 Mount Clemens, MI 48046-0326                Beaumont, TX 77704-0016                     Dallas, TX 75206-4116
 Megatronics International                   Metro Communications and                    Memphis Zoo & Zoological
 6137 Wilshire Blvd.                         Electronics                                 2000 Prentiss Place
 Los Angeles, CA 90048-5101                  5570 Bershire Valley Road                   Memphis, TN 38112-5033
                                             Oak Ridge, NJ 07438-9764
 Mercer Health                               Miami Dade Expressway Authority             MetroTalk Inc
 800 West Main Street                        (MDX)                                       4246 Kenilworth Ave
 Coldwater, OH 45828-1613                    PO Box 865009                               Bladenburg, MD 20710-1212
                                             Orlando, FL 32886-5009
 Metrocom NY Inc.                            Michael D Olliges                           Miami Fork Lift Services, Corp
 33 East 33rd Street                         14591 Ladue Rd                              7910 West 25th Ave
 New York, NY 10016-5335                     Chesterfield, MO 63017-2231                 Hialeah, FL 33016-2759
 Michael Arsenie                             Michael K. Allen                            Michael Garrett
 17 Garnet Road.                             15690 Cupid Dr                              1801 Trentwood Dr
 Roxbury, CT 06783-2034                      Caldwell, IL 83607-1447                     Greenboro, NC 27408-2526
 Michael Garrett                             Michael Russell                             Michael Mazzei
 2618-A Battleground Avenue                  1507 Talon Drive                            1446 Huntington Dr
 Box 142                                     Cameron, MO 64429-2095                      Glenview, IL 60025-2228
 Greenboro, NC 27408-1925
 Michael Momi                                Micromagic Co., Inc.                        Michell Consulting
 1031 East Lafayette Street                  1785 78th ST                                P.O. Box 226620
 Sandy, UT 84094-5947                        Brooklyn, NY 11214-1156                     Miami, FL 33222-6620
 Michell Consulting Group                    Mid State Communications                    Micromagic Co., Inc.
 8240 NW 52ND Terrace Suite 410              Services                                    2640 East 14th Street
 Miami, FL 33166-7847                        P.O BOX 13044                               Unit C2
                                             Alexandria, LA 71315-3044                   Brooklyn, NY 11235-4157
 Microsoft                                   Midwest Mobile Radio Service Inc.           Mid-State Mobile Radio
 PO Box 842103                               812 South 10th Street                       1681 South Olden Ave
 Dallas, TX 75284-2103                       Saint Joseph, MO 64501-3694                 Trenton, NJ 08610-2918
 Middle Tennessee Two-Way Inc.               Mike Ding                                   Midwest Radio Systems, Inc
 P.O. Box 203                                3315 Commerce Pkwy                          216 Roberta Drive
 Shelbyville, TN 37162-0203                  Miramar, FL 33025-3954                      Bismark, MO 63624-9621
 Midwest Wireless LLC                        Mike Olliges                                Mike Gardenhire
 5915 Brady St                               14591 Ladue Rd                              Lewiseville, KY 75029
 Davenport, IA 52806-2147                    Chesterfield, MO 63017-2231


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 Mike Hunziker                               Minesafe Electronics, Inc.                  Milltech Marine
 9264 W Friend Dr                            P.O. Box 281                                120 Harrison Ave
 Littleton, CO 80128-5170                    Sturgis, KY 42459-0281                      Port Orchard, WA 98366-5227
 Milner                                      Minuteman Press of Miramar                  Mingrui Yan
 P.O. Box 923197                             12004 Miramar Parkway                       Boca Raton, FL 33428
 Norcross, GA 30010-3197                     Miramar, FL 33025-7000
 Minh Ly                                     Mobile Communications America               Mitch Aker
 8868 Barrette Ave                           234 Blountstown                             3117 Ensign Ave N
 Rosemead, CA 91770-1202                     Tallahassee, FL 32304-3704                  New Hope, MN 55427-2426
 Mitchell Communications Inc.                Mobile-One Communications                   Mobile Communications, Inc.
 3470 Manchester Rd.                         14140 S. Tamiami Trail                      2646 Turners Creek Road
 Akron, OH 44319-1436                        North Port, FL 34287-2289                   Yadkinville, NC 27055-6828
 Mobile Data Concepts                        Monterey Graphic Printing                   Modern Business Resources LLC
 1007 Warren Street                          9934 Bell Ranch Dr.                         N988 W. Lake CT.
 Greensboro, NC 27403-2727                   Santa Fe Springs, CA 90670-2972             Hortonville, WI 54944-9344
 Momentum Service Center                     Moraine Radio                               Moody Plumbing Inc.
 221 Jefferson Ridge Pkwy                    1631 N. Main Street                         4100 NW 120th Ave.
 Lynchburg, VA 24501-6952                    West Bend, WI 53090-1543                    Coral Springs, FL 33065-7622
 Moore Farms Botanical Garden                Morningside Evaluations &                   Morgan Lewis & Bockus LLP
 Foundation                                  Consulting                                  77 W. Wacker Drive
 1642 Pine Bay Road                          450 7th Avenue                              Chicago, IL 60601-5094
 Lake City, SC 29560-4900                    Suite 1107
                                             New York, NY 10123-1101
 Morne Stramrood                             Moss Communications                         MORNINGSIDE
 13322 Rising Bluff Lane                     4101 W. Cypress Street                      TRANSLATIONS LLC
 Cypress, TX 77429-6276                      Tampa, FL 33607-2302                        450 7TH AVENUE
                                                                                         SUITE 1001
                                                                                         NEW YORK NY 10123-1001
 Moss Adams LLP                              Motorola Solutions, Inc.                    Motorola Solutions Inc.
 PO Box 101822                               Christopher Lawless                         500 West Monroe Street
 Pasadena, CA 91189-0050                     Kirkland & Ellis LLP                        Chicago, IL 60661-3671
                                             Los Angeles, CA 90071
 Motorola Solutions Malaysia                 Mountain Communications                     Mount Hermon Assoc
 Sdn.Bhd                                     PO Box 533                                  37 Conference Dr
 2A, Medan Bayan Lepas                       Young Harris, GA 30582-0533                 Felton, CA 95018-9743
 Bayan Lepas Technoplex
 11900 Bayan Lepas
 Pulau Pinang, Malaysia, CA
 Mount Saint Mary College                    Multicom, Inc                               Mr Sharpie's
 330 Powell Avenue                           201 Wayne Street                            328 S Federal Hwy
 Newburgh, NY 12550-3494                     Hollisdayburg, PA 16648-1858                Dania, FL 33004-4102
 Mr. Radio Of Arizona Inc.                   My Case Builder                             Multiradio S.A.
 1524 E. Drinda Way                          510 E. 31st Street                          Av Cordoba 4860
 Fort Mohave, AZ 86426-9415                  Paterson, NJ 07504-2120                     Buenos Aires, Argentina
 Music Haven Inc dba Valley                  NCC Group, Inc.                             N Touch Wireless
 Communication                               123 Mission Street 9th Floor                1049 Durham Rd
 178 West Main Street                        San Francisco, CA 94105-5124                Ste. G
 Fort Kent, ME 04743-1193                                                                Roxboro, NC 27573-6123
 NASRO                                       NRECA                                       ND Crush Softball LLC
 2020 Valleydale Road                        PO Box 758777                               3080 Knolin Dr.
 Suite 207A                                  Baltimore, MD 21275-8777                    Suite 6
 Hoover, AL 35244-4803                                                                   Bossier City, LA 71112-2465



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 NJ Transit                                  Nashoba Regional School District            NW Communications, Inc.
 Attn: Ed Velez, Radio System                50 Mechanic Street                          3926 Iron Gate Rd
 180 Boyden Avenue S                         Bolton, MA 01740-1327                       Ste A
 Maplewood, NJ 07040-2492                                                                Bellingham, WA 98226-8097
 Nancy Baker                                 Nationwide Generators                       National Orders, Inc
 813 North Gov. Williams Highway             359 W Irving Park Road                      4821 N Grady Ave
 Darlington, SC 29532-2034                   Roselle, IL 60172-1123                      Tampa, FL 33614-6513
 Nationwide Computer Systems                 New Jersey                                  Near North Customs Brokers Inc.
 P.O. BOX 551149                             Department of the Treasury                  20 Elliott Ave B
 Davie, FL 33355-1149                        Division of Taxation                        Barrie, ON L4N 4V7
                                             PO Box 198
                                             Trenton, NJ 08695-0198
 Neil Page                                   New London Technology, Inc                  New Jersey Department of State
 6191 Orange Drive                           23 Turkeyfoot Road                          PO Box 300
 Davie, FL 33314-3449                        Lynchburg, VA 24502-3958                    Trenton, NJ 08625-0300
 New Jersey Dept. of Treasury                Ni Huang                                    Newark Element14
 Division of Taxation                        11001 Highridge Street                      33190 Collection Center Drive
 153 Halsey St.                              Fairfax Station, VA 22039-1829              Chicago, IL 60693-0331
 Box 47022
 Newark, NJ 07102-2828
 Newmar                                      Nielson Communications, Inc.                Nicor Gas
 P.O. BOX 1306                               645 Potts Avenue                            PO Box 5407
 Newport Beach, CA 92659-0306                Green Bay, WI 54304-4531                    Carol Stream, IL 60197-5407
 Nielson Communications, Inc.                Norsat (Canada) International Inc.          Nisbet Plantation Beach Club
 645 Mike McCarthy Way                       110-4020 Viking Way                         New Castle, St. James Parish Nevis
 Green Bay, WI 54304-4531                    Richmond, Canada V6V 2L4                    West Indies, Saint Kitts Nevis
 No Bugs Left Behind                         North Carolina Dept of Revenue              North America Tetra Forum
 3040 North 73 Terrace                       ATtn: Bankruptcy Unit                       2551 Riva Rd
 Hollywood, FL 33024-2744                    PO Box 1168                                 MS 6-3516A
                                             Raleigh, NC 27602-1168                      Annapolis, MD 21401-7435
 North American Mobile Systems,              North Carolina State Controller             North Carolina Dept of Revenue
 Inc                                         3512 Bush Street                            PO Box 25000
 37-03 Woodside Avenue                       Raleigh, NC 27609-7509                      Raleigh, NC 27640-0100
 Woodside, NY 11377-2445
 North Carolina Secretary of State           NorthWest Towers, LLC                       North Mississippi 2 Way Comm.
 Corporations Division                       12119 NE 99th St. Suite 2000                2430 Mount Pleasant Road
 2 S Salisbury St                            Vancouver, WA 98682-2461                    Hernando, MS 38632-2001
 Raleigh, NC 27601-2903
 North Sight Communications Inc.             Northeast Two-Way                           Northeast Communications, Inc
 dba/ Pro                                    Communications                              244 East Union Turnpike
 P.O. Box 51148                              69 A Hillside Road                          Wharton, NJ 07885-2605
 Toa Baja, PR 00950-1148                     Deerfield, MA 01373
 Northeast Two Way Radio                     Nuebis LLC                                  Northeastern Technologies
 Corporation                                 1342 Bell Avenue, #D                        Inc.D/B/A Nort
 315 New Boston St.                          Tustin, CA 92780-6440                       2527 South Ridge Rd East
 Ste 4                                                                                   Ashtabula, OH 44004-4464
 Woburn, MA 01801-6245
 Novus, LLC                                  OSI International LLC                       Nuevalife Inc
 PO Box 828928                               164 W Royal Palm Road                       1015 W university Ave.
 Philadelphia, PA 19182-8928                 Boca Raton, FL 33432-3830                   Suite 2
                                                                                         Gainesville, FL 32601-5113
 Nutec Electro Tel                           Office Depot                                Oceanica Logistic Group
 3720B 48 Avenue                             P.O. Box 88040                              9372 NW 101 St
 Camrose, AB T4V 4S1                         Chicago, IL 60680-1040                      Miami, FL 33178-1314
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 Octane Group Inc.                           Ogletree Deakins Nash Smoak &               Office Team
 11700 W. Charleston #170-484                Stewart                                     12400 Collections Center Drive
 Las Vegas, NV 89135-1573                    PO Box 89                                   Chicago, IL 60693-0124
                                             Columbia, SC 29202-0089
 Office of the U.S. Trustee - SA             Omega Telecom Limited                       Oliverio Santoyo
 411 West Fourth Street                      No. 3 Victoria Street                       1931 Huncliff Drive
 Suite 7160                                  Siparia Trinidad, Tobago                    Lawrenceville, GA 30043-4070
 Santa Ana, CA 92701-4500
 Omega Communications Ltd.                   OneSource Wireless Commun.                  One LLP
 100-1751 Harvey Avenue                      6628 Sky Pointe Drive                       Attn. Joseph Kuan Liu
 Kelowna, BC V1Y 6G4                         Suite 101                                   4000 MacArthur Boulevard
                                             Las Vegas, NV 89131-4071                    East Tower, Suite 500
                                                                                         Newport Beach, CA 92660-2558
 OneLink Wireless                            Orange County Assessor                      Online Freight Services Inc.
 7321 N. Broadway                            PO Box 1949                                 2275 Waters Drive
 Oklahoma City, OK 73116-9011                Santa Ana, CA 92702-1949                    Mendota heights, MN 55120-1363
 Optima Property Service                     Orange County Fire Authority                Orange County Convention Center
 4533 MacArthur Blvd, #560                   1 Fire Authority Road                       9800 International Drive
 Newport Beach, CA 92660-2061                Irvine, CA 92602-0125                       Orlando, FL 32819-8111
 Orange County Convention Center             Oscar Ruiz                                  Orangeville School District #203
 P.O. Box 691509                             6894 NW 20th Ave                            310 S. East Street
 Orlando, FL 32869-1509                      Fort Lauderdale, FL 33309-1513              Orangeville, IL 61060-9231
 Orkin                                       Otec Communication                          Oscar V. Uranga Jr
 PO Box 7161                                 405 Pine St.                                14529 Glencairn Rd
 Pasadena, CA 91109-7161                     Elk Rapids, MI 49629-9578                   Hialeah, FL 33016-1471
 Otec Communication                          Ozark Communications                        Over the Limit Appliances Service
 13356 Indian Rd                             113 HIGHWAY 206                             & Repa
 Kewadin, MI 49648-9006                      Everton, AR 72633-8240                      110 SW 52nd Place
                                                                                         Coral Gables, FL 33134-1136
 Oxford Sand Company, Inc.                   PCM Link                                    P.E.C. Mobile Communications
 693 Hwy 30 Oxford                           11999 San Vicente Blvd.                     4690 PEC Road
 Oxford, MS 38655                            Los Angeles, CA 90049-5131                  Springfield, IL 62711-6045
 PAC Communications                          Pacific Bend Inc.                           PCM Sales, Inc.
 1741 Clark Street                           PO Box 9060                                 File 55327
 Aurburn, NY 13021-8560                      Redlands, CA 92375-2260                     Los Angeles, CA 90074-0001
 PPI                                         Palm Square Lawnmower & Tool                PackIT Communications
 PO Box 731712                               Repair                                      PO Box 308 Switzer
 Ormond Beach, FL 32173-1712                 9865 Pines Blvd                             Switzer, WV 25647-0308
                                             Pembroke Pines, FL 33024-6100
 Paisley Law                                 Pandata Corp.                               Pamela Fifer
 Attn. Shaun Paisley                         7108 S. Alton Way                           W365 N7134 McMahon Rd
 157 Church Street                           Aurora, CO 80012                            Oconomowoc, WI 53066-1012
 19th Floor
 New Haven, CT 06510-2100
 Panama Consulting and Services,             Paris Las Vegas                             PANORAMA ANTENNAS INC
 S.A.                                        3655 S. Las Vegas Blvd                      1551 HERITAGE PARKWAY
 Ave. 12 De Octubre Y Ave. 5C                Las Vegas, NV 89109-4343                    SUITE 101
 Norte, Panama 0819-01226                                                                MANSFIELD TX 76063-8336
 Paramount Refreshment Solutions             Patrick Green                               Parkside at Memorial
 PO Box 50196                                451 Cliff Rd E.                             777 S. Mayde Creek Drive
 Los Angeles, CA 90074-0196                  Suite 101                                   Houston, TX 77079-6121
                                             Burnsville, MN 55337-1675



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 Patrick Doolin                              Paw Paw Public Schools                      Paul Coughlin
 3619 Merrell Rd                             119 Johnson Rd                              2060 Lemon Ave
 Dallas, TX 75229-6044                       Paw Paw, MI 49079-2011                      Escondido, CA 92029-4401
 Paul Wardner                                Peak Technical Services, Inc.               Paxton Communications
 103 E Park Ave                              583 Epsilon Dr                              Engineering
 Riverton, WY 82501-3528                     Pittsburgh, PA 15238-2816                   5170 E. Rt. 40
                                                                                         Tipp City, OH 45371-9033
 Peak Mobile Communication                   Penton Media, Inc.                          Pedersen Law
 4910 South Warehouse Road                   24652 Network Place                         15751 Sheridan St
 Salt Lake City, UT 84118                    Chicago, IL 60673-1246                      Suite 110
                                                                                         Ft. Lauderdale, FL 33331-3486
 Pegasus Radio Corp. d/b/a Federal           STRIPE INC                                  Performance 2-way
 Radio                                       ATTN LEGAL DEPARTMENT                       36073 Zion Church Rd
 1202 Technology Drive                       112 GULL DRIVE                              Frankford, DE 19945-4544
 Suite C                                     SOUTH SAN FRANCISCO CA
 Aberdeen, MD 21001-1245                     94080-4806
 Performance Freight Systems                 Peterson Radio, Inc                         Pest Pro Services
 P.O. BOX 518                                9711 US RT 52                               3040 North 73 Terrace
 Rancho Cucamonga, CA 91729-                 Manchester, OH 45144-9577                   Hollywood, FL 33024-2744
 0518
 Peter Gobi                                  Phoenix AC & Heating, Inc.                  Petty Cash
 14 Redwood Drive                            23192 Verdugo Drive                         320 International Pkwy.
 Princeton, MA 01541-1509                    Suite B                                     Sunrise, FL 33325-6240
                                             Laguna Hills, CA 92653-1377
 Philip Holman                               Pioneer Funding Group II, LLC               Piedmont Communications Co, Inc
 1801 N Lazy Branch Road                     232 W. 116th St.                            1519 Camden Avenue
 Independence, MO 64058-1247                 P.O. Box 1735                               Durham, NC 27704-4609
                                             New York, NY 10026-0974
 Pingry School                               Polic a Nacional                            Pitney Bowes Inc.
 131 Martinsville Road                       Av. Leopoldo Navarro Esp. Mexico            P.O. Box 371887
 Basking Ridge, NJ 07920-2709                #                                           Pittsburgh, PA 15250-7887
                                             Santo Domingo, Dominican
                                             Republic
 Pointon Communications                      Porsche West Broward                        Police Safety Systems Inc. d.b.a
 P.O Box 614                                 4641 SW 148th Avenue                        AMP Glo
 Baraboo, WI US 53913-0614                   Davie, FL 33330-2131                        90 N. Pioneer Ave
                                                                                         Shaverton, PA 18708-1026
 Porsche Financial Services                  Portable Repair, Inc.                       Portable Communications, Inc.
 980 Hammond Dr                              5150 NE 6 Avenue                            P.O. Box 5247
 Altanta, GA 30328-6161                      #125                                        Hialeah, FL 33014-1247
                                             Oakland Park, FL 33334-3363
 Portable Radio Solutions LLC                PowerTrunk, Inc                             Portcom
 Cabanillas Industrial Park                  66 York St, 4th Fl.                         107 Rustic Court
 Carr 20km 5.2                               Jersey City, NJ 07302-3839                  Perryville, MD 21903-2579
 Building 14
 Guaynabo, PR 00970
 Potosi R-3 Schools                          Precision Electronics                       Precedia Associates LLC
 400 N Mine St                               454 North 1100 West                         665 Lytton Ave
 Potosi, MO 63664-1734                       Centerville, UT 84014-1727                  Suite 3
                                                                                         Palo Alto, CA 94301-1335
 Precision Communications Inc                Premium (Bodywear) Group                    Preferred Communications, Inc.
 PO Box 1685                                 777 NW 72 Ave                               6584 County Rd 1025 E
 Tupelo, MS 38802-1685                       Suite 3002                                  Oakland City, IN 47660
                                             Miami, FL 33126-3184

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 Preferred Printing & Graphics               Prodetel, C.A.                              PricewaterhouseCoopers LLP
 2605 Old Okeechobe Road                     C.C.C.T. Torre B,Piso 3 Ofic.               P.O. Box 932011
 West Palm Beach, FL 33409-4146              Chuao, Caracas Venezuela                    Atlanta, GA 31193-2011
 Procom Corporation                          Proyectcom SAC (PCOM)                       Professional Wireless
 8260 Patuxent Range Road                    Paseo La Castellana N 280                   Communications
 Jessup, MD 20794-8605                       Surco, Peru                                 451 Cliff Road East
                                                                                         Burnsville, MN 55337-1675
 Prointel Colombia SAS                       Purchase Power                              Pryme Radio Products
 Carrera 31A No 25B10                        P.O. Box 856042                             911 Mariner St
 Bogota, Columbia                            Louisville, KY 40285-6042                   Brea, CA 92821-3827
 Pu Wang                                     Quality Plus Cleaning Systems Inc.          Qiaochu Du
 100 Sw 10th St                              P.O. BOX 772422                             FL 33326-5036
 Apt 509                                     Coral Springs, FL 33077-2422
 Miami, FL 33130-4081
 Quaboag Regional SD                         R Communications Specialists                Quelsy Torres
 284 Old West Brookfield Road                4364 Barrell Rd.                            1256 Mcmahan Dr.
 Warren, MA 01083-7951                       Sparta, WI 54656-6630                       Lewisville, TX 75077-2503
 Quelsy Torres                               R&L Truckload Services                      R F Design
 501 Highland Dr                             Bank of America Lockbox Services            PO Box 65055
 Apt 621                                     Lockbox 7400819                             Philadelphia, PA 19155
 Lewisville, TX 75067-4103                   Chicago, IL 60674-0001
 R&L Carriers                                R.F. Industries                             R+L Carriers
 R & L Carriers, Inc.                        7610 Miramar Road                           PO BOX 10020
 Columbus, OH 43271-3153                     Building 6000                               Port William, OH 45164-2000
                                             San Diego, CA 92126-4238
 R.E.M. Communications Inc.                  RCom Radio LLC                              RC Electronics
 PO Box 248177                               10733 NE 9 AVE                              8322 Antioch Rd
 Columbus, OH 43224-8177                     Miami, FL 33161-7221                        Salem, WI 53168-9193
 RCB ASSOC. dba Audio                        RF Inc.                                     RCom Radio LLC
 Communications                              315 N. Shary Rd.                            6016 Meade Avenue
 P.O. Box 220                                Suite 1016                                  San Diego, CA 92115-5443
 Big Lake, MN 55309-0220                     Mission, TX 78572-8235
 RELYmedia                                   RG Sound & Communications, Inc              RFC Wireless, Inc
 18178 Minnetonka Blvd                       dba RG Co                                   829 Corporate Way
 Suite 100                                   1701 Industrial Drive                       Fremont, CA 94539-6115
 Wayzata, MN 55391-3350                      Celina, OH 45822-1375
 RFT Enterprises, Inc d/b/a HEI              Rachel Romero                               RI Communications Corp
 Wireless                                    102 Portsmouth Dr.                          1177 Jefferson Blvd.
 2203 Plaza Drive                            Broussard, LA 70518-3507                    Suite# C
 Benton Harbor, MI 49022-2215                                                            Wawrick, RI 02886-2264
 RSM Plumbing & Air Cond.                    Radifax                                     Racom
 PO Box 80326                                Apartado 1286-2050                          201 W. State Street
 Rancho Santa Margarita, CA                  San Jose, Costa Rica                        Marshalltown, IA 50158-5841
 92688-0326
 Radicom, Inc.                               Radio Communication Service                 Radio & Cellular Wireless Rentals
 2604 N. Chapel Hill Road                    7285 Ridgeline Drive                        1111 Dillingham Blvd.
 Mchenry, IL 60051-3631                      Riverside, CA 92509-5514                    Suite E-7
                                                                                         Honolulu, HI 96817-4408
 Radio & System Solutions SA de              Radio Fontera SA DE CV                      Radio Communications Company
 Cv                                          Carretera A Matamoros                       (NC)
 Paseo de San Francisco 67                   K.M. 90 SN                                  P.O. Box 68
 Jardines de Atizapan                        Mexico C.P. 88760                           Cary, NC 27512-0068
 Estado de Mexico C.P. 52978


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 Radio Communications Mgmt                   Radio Ranch, Inc.                           Radio Frontera, S.A. de C.V.
 158 Rand Road Portland                      10924 Hoover Road                           Carretera A Matamoros KM.90
 Portland, ME 04102-1408                     Rock Falls, IL 61071-9355                   S/N, Col. El
                                                                                         Reynosa, Mexico 88760-0000
 Radio One, Inc                              RadioMax Communications Inc.                Radio Services LLC.
 4405 International Blvd Suite B-            175 Buell Rd.                               1340 E Evans Pueblo CO 81004 US
 118                                         Rochester, NY 14624-3119                    Pueblo, CO 81004
 Norcross, GA 30093-3096
 RadioHQ, Inc.                               Radiowave Communications LLC                Radiocom S.A.
 413 NE 38th Terrace                         2059 South Broadway                         Final 7A.AV.Norte No. 39
 Oklahoma City, OK 73105-3706                Unit F                                      Residencial San
                                             Grand Junction, CO 81507-8725               San Salvador, El Salvador
 Radioland, Inc                              Ramin Hafezi                                Radiowave Communications LLC
 1421 Lexington Road                         115 Ranch Trail                             702 Woodland Country Drive
 Louisville, KY 40206-1992                   Williamsville, NY 14221-2438                Grand Junction, CO 81507-9730
 Ragan Communications                        Randstad                                    Rand Internet Marketing
 2 Ragan Ct.                                 PO Box 894217                               600 W. Hillsboro Blvd Suite 130
 Washington, IL 61571-1051                   Los Angeles, CA 90189-4217                  Deerfield Beach, FL 33441-1610
 Randstad                                    Rapicom Communications, Inc.                Range Telecommunications
 PO Box 742689                               4425 16 Avenue N.E.                         2342 US 41 West Marquette
 Atlanta, GA 30374-2689                      Naples, FL 34120-8912                       Marquette, MI 49855-2456
 Rapicom Communications, Inc.                Raven Electronics Corporation               Rasecom De Mexico S.A. DE CV
 3830 W. 11 Avenue                           4655 Longley Lane                           Deza Y Ulloa No 605 Col. San
 Hialeah, FL 33012-4162                      Suite# 106                                  Felipe
                                             Reno, NV 89502-7904                         Chihuhua, Mexico 31203-0000
 Rassbach Communications                     Raycom Comunicaciones                       Ray Electric Inc.
 405 N. Hastings Place                       Salitrera Victoria Local 28                 P.O. Box 53271
 Eau Claire, WI 54703-3468                   Zofriparts                                  Bellevue, WA 98015-3271
                                             Zofri Iquique, Chile 00111-3616
 Ray's HVAC Service                          Raymond Handling Solutions, Inc.            Raycom S.A.
 1913 S Wrogjt Blvd                          File 1700, 1801 W. Olympic Blvd             Cerro Largo 760
 Schaumburg, IL 60193                        Pasadena, CA 91199-0001                     Montevideo, Uruguay
 Raylex Diginet S.A.                         Reed Exhibitions                            ReadyRefresh
 Av. Francisco Bilbao 2469                   PO Box 9599                                 PO Box 856158
 Providencia, Chile                          New York, NY 10087-4599                     Louisville, KY 40285-6158
 Red Cloud                                   Reidy Rhodes Taylor                         Regina Gonzales
 2850 Camino Diablo                          Communications                              14277 Preston Rd #714
 Walnut Creek, CA 94597-3951                 4800 Dell Wood Avenue                       Dallas, TX 75254-8519
                                             Jacksonville, FL 32205-4974
 Regional Multicultural Magnet               Relyc Contractor Corp                       Reliable Two Way LLC
 School                                      7547 W 24 Ave                               23039 Sw 53rd Ave
 1 Bulkeley Place                            Suite S-200                                 Boca Raon, F 33433-7942
 New London, CT 06320-6206                   Hialeah, FL 33016-6515
 Reliable Two Way LLC                        Republic Services                           Remote Area Medical
 6191 Orange Drive                           751 N.W. 31st Avenue FT.                    2200 Stock Creek Blvd.
 Suite 4466                                  Fort Lauderdale, FL 33311-6627              Rockford, TN 37853-3043
 Davie, FL 33314-3460
 Ren & Associates, P.C.                      Reynolds Radio Service, Inc.                Responsive Communications
 1100 Clinton Street                         1611 West Pine Street                       Services, Inc.
 Apt 301                                     Warren, AR 71671-1811                       1771 Vineyard Dr. Suite 6
 Hoboken, NJ 07030-3285                                                                  Antioch, CA 94509-8502




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 Retirement Management Services,             Richard Galvan                              Ribenal S.A.
 LLC                                         4030 Quartzite Lane                         J.M. Blanes 1096- CP11200
 905 Lily Creek Road                         San Bernardino, CA 92407-0471               Montevideo, Uruguay
 Louisville, KY 40243-2808
 Richard Cieslak                             Richardson Communications, Inc.             Richard Nogay
 791 Cascade Dr                              32705 Highway 43                            22 Hillcrest Road
 Marengo, IL 60152-3649                      Thomasville, AL 36784-1647                  Caldwell, NJ 07006-4821
 Richard Walter                              Ridgenet Network Group                      Rick Dittlinger
 4723 Green Spruce Lane                      28 Wilson Loop Road                         14 N. Winchester
 Bismarck, ND 58503-9263                     Science Hill, KY 42553                      Benton, MO 63736
 Ridgeline Communications                    Rishi Services LLC                          Rieke Office Interiors
 395 E Ross Ave                              PO Box 936052                               2000 Fox Lane
 Driggs, ID 83422-5191                       Margate, FL 33093-6052                      Elgin, IL 60123-7814
 Rio Comm LLC                                Rivcomm, LLC                                Risinghill Marketing
 2605 W. Mile 5 RD. Suite B6                 1330 Dodson Way                             4329 Risinghill Drive
 Mission, TX 78574-0978                      Riverside, CA 92507-2003                    Plano, TX 75024-3733
 Rita Weber                                  Rocking Horse Ranch                         Robert S. Norell, P.A.
 10455 Vista Park                            2617 Wingdale Mtn Rd                        300 Nw 70th Avenue
 Dallas, TX 75238-1645                       600 Route 44/55                             Suite 305
                                             Highland, NY 12528-2259                     Fort Lauderdale, FL 33317-2379
 Rock Communications                         Roger's Two Way Radio                       Roetzel & Andress
 317 Carroll Cove                            102 Lincoln Ave SE                          222 S. Main Street
 Clover, SC 29710-7000                       Bemidji, MN 56601-3577                      Akron, OH 44308-1500
 Roetzel & Andress, LPA                      Ronald Stebbeds                             Ronald M. Sampson
 c/o Bruce R. Schrader, II, Esq.             22234 Bon Heur                              5659 Merino Court
 222 South Main Street                       Saint Clair Shores, MI 48081-2455           Fitchburg, WI 53711-5483
 Akron, OH 44308-1500
 Ronald Smith                                Ryan Ousley                                 Rosen Plaza Hotel
 613 South 8th Street                        5707 Stone Village                          9840 International Drive
 Richmond, TX 77469-3402                     San Antonio, TX 78250-3981                  Orlando, FL 32819-8111
 Roth Staffing Companies, LP                 SAF Tehnika JSC                             Ryan Walker
 PO Box 60003                                24A, Ganibu Dambis                          462 Kirkstone Way
 Anaheim, CA 92812-6003                      Riga, Latvia LV-1005                        Las Vegas, NV 89123-0636
 S.J. Jablonski & Associates                 SJM Industrial Radio                        SASCO
 303 South Silvertop Lane                    1212 E Imperial Ave                         P. O. Box 51903
 Raymore, MO 64083-9240                      El Segundo, CA 90245-2619                   Los Angeles, CA 90051-6203
 SAT Radio Comm dba Industrial               SSC, LLC                                    SMD, Inc.
 Comm                                        117 E Main St                               43 Warehouse Point Road
 1019 E. Euclid Ave                          Elkton, MD 21921-5906                       Wallingford, CT 06492-2770
 San Antonio, TX 78212-4505
 SS&G Management                             Salvatore P. Farina                         Sabisu Telecomunicaciones S de Rl
 PO Box 8587                                 9904 Redwing Dr                             de CV
 Mandeville, LA 70470-8587                   Perry Hall, MD 21128-9391                   Calle 21 No 117-d por 24 y 24 A
                                                                                         Colonia
 Safe Haven IT, Inc.                         Samlex America, Inc.                        Sam Guan
 299 Noble Circle                            110-17 Fawcett Rd                           3315 Commerce Parkway
 Vernon Hills, IL 60061-2927                 Coquitlam, Canada V3K 6V2                   Hollywood, FL 33025-3954
 Samlex America, Inc.                        Say Cargo Express                           Sarnet
 103-4268 Lozells Avenue                     700 East Debra Lane                         12300 SW 107 Av
 Burnaby, BC V5A 0C6 CA                      Anaheim, CA 92805-6317                      Miami, FL 33176-4760




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 Satelradio Telecomunica O LTDA              Schmitty & Sons                             ScDataCom LLC
 ME                                          22750 Pillsbury Avenue                      50 SE Ocean Boulevard
 Av. Doutor Jo o Guilherminho                Lakeville, MN 55044-8345                    Suite 202A
 429 - Sl 74 - Centro -                                                                  Stuart, FL 34994-2222
 S o Jos dos Campo, Brasil
 ScanSource Latin America                    Scott Browder                               School District of Spencer
 1935 NW 87 Ave.                             614 East 7th St.                            300 N. School Street
 Miami, FL 33172-2607                        3d                                          Spencer, WI 54479-9300
                                             Brooklyn, NY 11218-6168
 Scientia Global, Inc.                       Scott Cox                                   Scott Chaney
 2210 Front Street                           627 Garden Blvd.                            968 Oasis Dr.
 Suite 204                                   Belleville, IL 62220-3661                   Torrance, CA 90502-2909
 Melbourne, FL 32901-7506
 Scott Cox                                   Sean Jeffrey                                Scott Oneto
 449 Clover Drive                            1325 Forestglen Dr                          75 South Main St.
 Lebanon, IL 62254-1141                      Lewisville, TX 75067-3317                   Unit 7#308
                                                                                         Concord, NH 03301-4865
 Scott Rivard                                Secretary of State                          Seattle Public Library
 57 Underhill Dr                             Division of Corporations                    1000 Fourth Avenue
 Gorham, ME 04038-2475                       Franchise Tax                               Seattle, WA 98104-1109
                                             PO Box 898
                                             Dover, DE 19903-0898
 Secretaria De Estado Da Seguranca           Securities Exchange Commission              Secretary of State - Nevada
 Public                                      Attn.: Bankruptcy Cournsel                  202 North Carson Street
 Rua Zadir Indio, 213 Centro                 444 South Flower Street                     Carson City, NV 89701-4201
 Maceio, Brazil 05702-0480                   Suite 900
                                             Los Angeles, CA 90071-2934
 Secretary of State-CA                       Select Staffing                             Seismic Source Company
 PO Box 944260                               PO Box 512637                               2391 E.Coleman Rd
 Sacramento, CA 94244-2600                   Los Angeles, CA 90051-0637                  Ponca City, OK 74604-5705
 Select Staffing                             Selma Communications                        Selex ES, A Finmeccanica
 PO Box 512007                               1605 W. Highland Ave                        Company
 Los Angeles, CA 90051-0007                  Selma, AL 36701-6610                        11300 W. 89th Street
                                                                                         Overland Park, KS 66214-1702
 Self Radio Inc                              Seminole Wire & Cable Co., Inc.             Seminole Communications, Inc.
 PO Box 76                                   Burgers Place                               d/b/a SCI-
 Montague, TX 76251-0076                     Wayne, NJ 07474-0248                        P.O. Box 6064
                                                                                         Dothan, AL 36302-6064
 Seminole Wire & Cable Co., Inc.             Serv.Tec.De Com.                            Sepura Mexico, S.A. De C.V.
 7861 Airport Highway                        S.A.(SERTECOMSA)                            Rub n Dario No 13-2
 Pennsauken, NJ 08109-4322                   Juan Diaz,Calle 3RA, Local 6062             planta,Colonia Polan
                                             Panama, Panama
 Sergio Luna Enterprises Corp.               Servicios Troncalizados SA de CV            Service Communications
 7103 SW 115th. Place                        Av. Revoluci n 639, Piso 4                  100 Henderson Road
 Unit D                                      Colonia San Pedro de los Pinos              Lafayette, LA 70508-2202
 Miami, FL 33173-1840                        Mexico
                                             D.F. C.P. 03800
 Service Communications of                   Shaffer Communications, Inc.                SetComm Communications
 Acadiana, Inc.                              2333 N 33rd Street                          6201 Goldfield Place NE
 P.O. Box 798                                Lincoln, NE 68504-2317                      Albuqerque, NM 87111-8208
 Brossard, LA 70518-0798
 Setronics                                   Shaun Thompson                              Shank Communications
 Diagonal 87 #26 63                          635 Roberts St                              105 E. Porter Street
 Bogota, Columbia                            Nonroe, WA 98272-2117                       Jackson, MS 39201-6191

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 Shannon Peeples                             Sherrill Belew                              Shawn Schmidt
 813 North Gov. Williams Highway             122 Mount Pisgah Road                       1916 Wright Blvd
 Darlington, SC 29532-2034                   Bradford, TN 38316-9778                     Schaumburg, IL 60193-4564
 Shenzen Qiding Industries Co., Ltd.         Signal Communication Systems                Shutterstock, Inc.
 Room 902                                    4325 W. Shaw Suite 101                      5505 N Cumberland Ave
 Dasheng Building                            Fresno, CA 93722-6228                       Suite 307
 Taohua Road                                                                             Chicago, IL 60656-4761
 FFTZ, Shenzhen China
 Siemens Convergence Creators                Silke Communications, Inc.                  Signs Now
 Corp.                                       1050 Riverside Pkwy                         4606 N Hiatus Rd.
 6080 Center Drive                           Suite #110                                  Sunrise, FL 33351-7909
 6TH Floor                                   West Sacramento, CA 95605-1525
 Los Angeles, CA 90045-9205
 Sijin Xu                                    Simon Greene                                Silke Communications, Inc.
 9132 SW 20th                                1830 S Dearborn St.                         680 Tyler Street
 St #E                                       Seattle, WA 98144-2904                      Eugene, OR 97402-4530
 Boca Raon, FL 33428-7799
 Silke Communications, Inc.                  Sistelec                                    Sinclair Technologies Inc.
 71 Mohawk Drive                             CRA 33 No. 62-34 Conucos                    55 Oriskany
 Portsmouth, RI 02871-5106                   Casas, Colombia                             Tonawanda, NY 14150-6709
 Sinclair Technologies Ltd                   Smart City Networks                         Sistemas De Instrumentacion
 110-4020 Viking Way                         5795 W. Badura Ave                          Limitada
 Richmond, BC V6V 2L4 CA                     Suite 110                                   Concha Y Toro No. 65
                                             Las Vegas, NV 89118-4724                    Santiago-Centro, CHILE
 Skytec, Inc.                                Smartel Comunicaciones                      Smart City Solutions, LLC
 500 Royal Industrial Park E-1 /             Luis Battle Berres 8405                     5795 W. Badura Ave.
 Engineer                                    Montevideo, Uruguay                         Suite 110
 Cantano, PR 00969                                                                       Las Vegas, NV 89118-4724
 Smart Toner Miami Corp.                     Solution Leading Partner, Inc               SoCalGas
 7250 W 24 Ave                               12150 Bloomfield Ave.                       PO Box C
 Suite 1                                     Suite S                                     Monterey Park, CA 91754-0932
 Hialeah, FL 33016-1700                      Santa Fe Springs, CA 90670-4745
 Solspace Inc.                               SOUTHERN CALIFORNIA                         South Florida Fair
 PO Box 7282                                 EDISON COMPANY                              9067 Southern Blvd
 Santa Cruz, CA 95061-7282                   1551 W SAN BERNARDINO                       West Palm Beach, FL 33411-3623
                                             ROAD
                                             COVINA CA 91722-3407
 SouthWest Toyota Lift                       SOUTHERN COMM. &                            Southside Communications /TRI-
 1311 N Blue Gum                             CONSULTANTS                                 Sport Inc.
 Anaheim, CA 92806-1750                      1700 JAGGIE FOX WAY                         208 South Dugger Ave
                                             LEXINGTON KY 40511-1698                     Roberta, GA 31078-4811
                                             USPS change
 Southern California Shredding, Inc.         SpectraComm, LLC                            Spectrum Communications
 20492 Crescent Bay Drive                    PO Box 1930                                 526 S Locust Lane
 Suite 112                                   Alamosa, CO 81101-1930                      B878
 Lake Forest, CA 92630-8848                                                              Moses Lake, WA 98837-2703
 Special Reconnaissance Team One             Spectrum Wireless (USA), Inc.               Spectrum Wireless (USA), Inc.
 2024 Trident Way BLDG 603                   27041 Gloede Drive                          27601 Little Mack Ave
 San Diego, CA 92155-5503                    Warren, MI 48088-4834                       Saint Clair Shores, MI 48081-1833
 Spectrum Tecnologia C.A.                    Staci Zweiback                              Standard Communications
 Boulevard De Sabana Grande                  4133 Carambola Circle S.                    Tankie Leendert #99
 Caracas, Venezuela                          #G102                                       Oranjestad, Aruba
                                             Coconut Creek, FL 33066-2554


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 St. Mary Sugar Co-Op, Inc.                  Staples Business Advantage                  Startronics America, Inc
 PO Box 269                                  PO Box 530621                               1017 Smith
 Jeanerette, LA 70544-0269                   Atlanta, GA 30353-0621                      Milton, WV 25541-1325
 Stanwood-Camano School Dist.                State Board of Equalization                 State Communications, Inc.
 26920 Pioneer Hwy                           Special Operations Bankruptcy               145-06 14th Avenue
 Stanwood, WA 98292-9548                     Team                                        Whitestone, NY 11357-2423
                                             MIC: 74
                                             PO Box 942879
                                             Sacramento, CA 94287-9007
 CALIFORNIA STATE BOARD                      State Wide Technologies, LLC                State of Michigan
 OF EQUALIZATION                             74 Parkview Street                          Michigan Department of Treasury
 ACCOUNT REFERENCE GROUP                     Meriden, CT 06451-5235                      P.O. Box 37704
 MIC 29                                                                                  Lansing, MI 48909
 P O BOX 942879
 SACRAMENTO CA 94279-0029
 State Corporation Commission                State of New Jersey - CBT                   Stephanie Nelson
 PO Box 1197                                 Po Box 666                                  20 St-Jude
 Richmond, VA 23218-1197                     Trenton, NJ 08604-0666                      Salaberry-de-Vaslleyfield, QC J6S
                                                                                         4S4
 State of Michigan                           Steptoe & Johnson                           Steptoe & Johnson
 PO Box 30054                                Attn. Brian Peter-Johnson                   Attn. Christopher Alan Suarez
 Lansing, MI 48909-7554                      1330 Connecticut Ave. NW                    1330 Connecticut Ave. NW
                                             Washington, DC 20036-1795                   Washington, DC 20036-1795
 Stephen Dion                                Steptoe & Johnson                           Steptoe & Johnson
 107 Butler Ave.                             Attn. Jessica Ilana Rothschild              Attn. John William Toth
 Wakefiled, MA 01880-2508                    1330 Connecticut Ave. NW                    1330 Connecticut Ave. NW
                                             Washington, DC 20036-1795                   Washington, DC 20036-1795
 Steptoe & Johnson                           Steptoe & Johnson                           Steptoe & Johnson
 Attn. David Shea Bettwy                     Attn. Robert Ford Kappers                   Attn. Scott M. Richey
 1330 Connecticut Ave. NW                    115 S. La Salle, Suite 3100                 1330 Connecticut Ave. NW
 Washington, DC 20036-1795                   Chicago, IL 60603-3903                      Washington, DC 20036-1795
 Steptoe & Johnson                           Steptoe & Johnson LLP                       Steptoe & Johnson LLP
 Attn. Li Guo                                Attn. Daniel Steven Stringfield             Attn. Hames Richard Nuttall
 1330 Connecticut Ave. NW                    227 West Monroe Street                      227 West Monroe Street
 Washington, DC 20036-1795                   Suite 4700                                  Suite 4700
                                             Chicago, IL 60606-5058                      Chicago, IL 60606-5058
 Steptoe & Johnson LLP                       Steptoe & Johnson LLP                       Steptoe & Johnson, LLP
 Attn. Boyd T. Cloern                        PO Box 603212                               1330 Connecticut Avenue, NW
 1330 Connecticut Ave. NW                    Charlotte, NC 28260-3212                    Washington, DC 20036-1795
 Washington, DC 20036-1795
 Steptoe & Johnson LLP                       Sterling Sugars, LLC                        Steve Rositano
 Attn. Tron Yue Fu                           609 Irish Bend                              175 Victoria Dr Utica
 227 W. Monroe Street                        Franklin, LA 70538-3345                     Utica, NY 13501-6510
 Suite 4700
 Chicago, IL 60606-5058
 Sterling Communications &                   Steven Nielson                              Stolz Telecom
 Electronics                                 866 Hickory Valley Ct                       6825 Camille Ave.
 3 Square Top Lane                           De Pere, WI 54115-3371                      Oklahoma City, OK 73149-5204
 Cora, WY 82925-8832
 Steven Cragg                                Suburban Propane                            Suffolk County Communications
 1907 Blue Water Bay Dr.                     P.O. BOX 10851                              Inc.
 Katy, TX 77494-6220                         Pompano Beach, FL 33061-6851                305-7 Knickerbocker Ave
                                                                                         Bohemia, NY 11716-3122


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 Strobes-R-Us, Inc.                          Sun & Ren, PLLC                             Sunbeam Properties, Inc.
 812 South Dixie Hwy West                    14 Penn Plaza                               1401 79th Causeway
 Pompano Beach, FL 33060-8223                Suite 1517                                  Miami Beach, FL 33141
                                             New York, NY 10122-1500
 Summit Public Schools                       Sunstate Communications                     Superior Communications
 14 Beekman Terr                             1310 E Canal Street(Hwy 60 east )           15875 Baker Creer Rd
 Summit, NJ 07901-1702                       Mulberry, FL 33860-2828                     Mcminnville, OR 97128-7906
 Sunielkys Sauleda Sierra                    Sure-Response, Inc.                         Surplus Two Way Radios LLC
 7931 Sw 104th St                            1075 N Reed Station Road                    1512 S. Grand Ave.
 APT E 213                                   Suite A                                     Santa Ana, CA 92705-4409
 Miami, FL 33156-8120                        Carbondale, IL 62902-7339
 Sure Response L.L.C                         Susan Felton                                Swift Prepaid Solutions
 27063 Meadow Ridge Dr.                      3816 Riverton Ave                           2150 E. Lake Cook Rd.
 Elko, FL 55020-8541                         Eagan, MN 55122-1712                        Suite 150
                                                                                         Buffalo Grove, IL 60089-8228
 Surveillance Unlimited                      T MOBILE                                    TA Radio Communications
 Coral SW-12 Valle Hermoso Sur.              C O AMERICAN INFOSOURCE                     700 S John Rodes Blvd
 Hormigeros, PR 00660                        LP                                          Suite C-1
                                             4515 N SANTA FE AVE                         Melbourne, FL 32904-1514
                                             OKLAHOMA CITY OK 73118-
                                             7901
 T & R Communications                        TCS Communications Corp.                    TFMComm, Inc.
 2333 Kentucky Ave.                          P.O. Box 5192                               125 SW Jackson Street
 Bedford, IA 50833-8222                      Salisbury, MA 01952-0192                    Topeka, KS 66603-3311
 TCL Industries, Inc.                        TPC Stonebrae Country Club                  TRC Telecom
 191 Popular Place North                     202 Country Club Drive                      Av Lisboa, 320
 Auroa, IL 60542                             Hayward, CA 94542-7927                      BRAZIL
 TMC Travel Managemen                        TRS Wireless, Inc.                          Tactical Public Safety LLC
 1200 Brickell Avenue                        1711 S Division Avenue                      199 Edgewood Ave
 Suite 640                                   Orlando, FL 32805-4727                      Suite A
 Miami, FL 33131-4049                                                                    Berlin, NJ 08009
 TRN Communications LLC                      Talk the Rockies                            Talk the Rockies
 118 Main St.                                5650 N. Washington Street                   PO Box 211412
 New Eagle, PA 15067-1151                    UNIT C-5                                    Denver, CO 80221-0392
                                             Denver, CO 80216-1355
 Tactical RF DBA Thompson                    Tammy Lawson                                Tantasqua Regional
 Communications                              1007 Pineridge Road                         320A Brookfield Road
 PO Box 405                                  Lexington, NC 27295-5926                    Fiskdale, MA 01518-1017
 Pittsboro, IN 46167-0405
 Talley                                      Team Six Communications, LLC                TeamViewer Germany GmbH
 12976 Sandoval Street                       1112 W. Boughton Rd #235                    P.O.BOX 743135
 Santa Fe Springs, CA 90670-4061             Bolingbrook, IL 60440-1508                  Atlanta, GA 30374-3135
 Team Novo Nordisk                           Technical Equip. Dist. (TEDI)               Tecnosinergia De RL CV
 2144 Hills Ave                              PO Box 150290                               Santo Domingo 220
 Ste A                                       Ogden, UT 84415-0290                        Col Industrial Sa
 Atlanta, GA 30318-2805                                                                  San Antonio Azcapotzalco
                                                                                         CDMX C.P. 02760
 Tec America                                 TekRF,LLC A Division of Tek-                Tekk Comm Communications
 Avenida 19 No 106-37                        Hut, Inc.                                   2361 Williamstown Road
 Bogota, Columbia                            460 Main Ave S                              Franklinville, NJ 08322-2664
                                             Twin Falls, ID 83301-6400




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 Tecnosinergia S de RL de CV                 Telecom Communications                      Telecommunications Networks Ltd
 Nueva Santo Domingo 220                     234 Newtown Rd.                             (East En
 Azcapotzalco, 02760 Ciudad de               Plainview, NY 11803-4307                    69 North Shore Rd
 San Antonio, Mexico 02760-0000                                                          Hamilton, Bermuda CR01
 Teldio Corp                                 Telexpress Inc                              Tell Communications
 390 March Road                              406 Interstate Drive                        6004 77 Street East
 Suite 110                                   Archdale, NC 27263-3161                     Palmetto, FL 34221-9459
 Ottawa, ON K2K 0G7
 Teleexpress Inc.                            Teltronic Andina SAS                        Teltronic Andina SAS
 406 Interstate Drive                        CRA. 9 # 115 06                             Calle 81 #11-68 Of. 413
 High Point, NC 27263-3161                   Bogota, Colombia
 Teltra, Inc.                                Teran International Sociedad                Terry Hayworth
 8208 NW 14 Street                           Anonima                                     2001 Sage Dr
 Miami, FL 33126-1502                        Edf. Teran, Calle Momotombo                 Garland, TX 75040-4353
                                             #888
                                             Managua, Nicaragua
 Ten-Four Communications, Inc                Tessco                                      Testforce
 P.O. Box 579106                             11126 McCormick Road                        114-2015 Midway Road
 Modesto, CA 95357-9106                      Hunt Valley, MD 21031-4302                  Carrollton, TX 75006
 Terrycomm                                   TEXAS COMPTROLLER OF                        Texas Premier Communications
 4155 Dow Road Unit N                        PUBLIC ACCOUNTS                             300 S. Medford Dr. Suite 104
 Melbourne, FL 32934-9256                    REVENUE ACCOUNTING DIV -                    Lufkin, TX 75901-5279
                                             BANKRUPTCY SECTION
                                             PO BOX 13528
                                             AUSTIN TX 78711-3528
 Texas 2 Way                                 The Charlie Edwards Company                 The Doseum
 1330 Sherwood Forest Street B986            LLC                                         2800 Broadway St
 STE 204                                     1720 W Kentucky Ave                         San Antonio, TX 78209-7034
 Houston, TX 77043-4663                      Ruston, LA 71270-9581
 The Breakers                                The Great American Enterprise,              The Hartford
 One South County Road                       Inc. DBA                                    Group Benefits Adm
 Palm Beach, FL 33480-4024                   103 Commercial Avenue                       Chicago, IL 60675-0001
                                             Carrollton, GA 30117-2448
 The Dutch Pot Jamaican Restaurant           The Rosen PLAZA Hotel                       The Scotts Company
 7301 Pines Blvd                             9700 International Dr.                      563 S Crown Hill Rd
 Pembrook Pines, FL 33024-7226               Orlando, FL 32819-8100                      Orrville, OH 44667-9553
 The Radio Shop, Inc.                        Theresa Starnes                             Thomas E Wessling
 3512 Jackson Hwy.                           B58 Upson Hall                              15350 Sulky Drive
 Sheffield, AL 35660-3514                    Ithaca, NY 14853                            #H
                                                                                         Homer Glen, IL 60491-7990
 The Signal Locker                           Times Microwave                             Times Microwave Systems Inc
 Nelson's Dockyard English                   PO Box 8500-4475                            358 Hall Ave
 Harbour,                                    Philadelphia, PA 19178-4475                 Wallingford, CT 06492-3574
 Antiqua West Indies, Antiqua
 Tidewater Communications &                  Titan Radio Inc.                            Toll By Plate
 Electronics                                 2181 W. California Avenue                   PO Box 105477
 509 Viking Drive,                           Suite 250                                   Atlanta, GA 30348-5477
 Suite A                                     Salt Lake City, UT 84104-4120
 Virginia Beach, VA 23452-7323
 Timothy Downey                              Tom Matthews                                Toney C. Cheng
 700 S John Rodes Blvd                       1455 Stephen Way                            13430 179th Ave NE
 Melbourne, FL 32904-1507                    Southhampton, PA 18966-4375                 Redmond, WA 98052-1103



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 Tom Herbert                                 Torres Electrical Supply                    TowBoat U.S.
 10852 Wiles Road                            3190 S.E. Dominica Terr                     254 Loeb Ave.
 Coral Springs, FL 33076-2011                Stuart, FL 34997-5718                       Key Largo, FL 33037-4826
 TooJay's Management LLC                     Tracy Lyle                                  Trade Risk Guaranty Brokerage
 3654 Georgia Avenue                         7305 May Hall Drive                         211 E. Main Street
 West Palm Beach, FL 33405-2121              Frisco, TX 75034-4478                       Suite C
                                                                                         Bozeman, MT 59715-4878
 Town of South Windsor                       Trak Microwave Corp.                        Transend Electronics
 1540 Sullivan Ave                           4726 Eisenhower Blvd                        P.O.B. 427
 Windsor, CT 06074-2786                      Tampa, FL 33634-6391                        Belize City, Belize
 TradeShow Logisitics                        Travel Solutions International              Tremonton Radio
 1720 Mars Hill Rd                           8111 LBJ Freeway                            710 West 375 South
 Suite 8-160                                 Suite 900                                   Temonton, UT 84337-1740
 Acworth, GA 30101-7127                      Dallas, TX 75251-1322
 Transperfect Holdings, LLC                  TriCom Service, Inc.                        Triangle Communications, LLC.
 Three Park Avenue, 39th FL                  P.O. Box 769                                2362 Waldheim Avenue
 New York, NY 10016-5918                     Lumberton, NC 28359-0769                    Scotch Plains, NJ 07076-2152
 Tri-County Fire Protection, Inc.            Trinity Relocation Group                    TRIPLE C COMMUNICATIONS
 16641 S. Finley Parkway                     2300 Palm Beach Lakes Blvd.                 8811 AMERICAN WAY STE 100
 Lockport, IL 60441-7011                     Suite 301                                   ENGLEWOOD CO 80112-7152
                                             West Palm Beach, FL 33409-3303              USPS change
 Triangle Security &                         Triton Datacom                              Triton Technical
 Communications                              20221 NE 16 Pl                              530 Industry Drive
 940 West Main Street                        Miami, FL 33179-2719                        Seattle, WA 98188-3501
 New Holland, PA 17557-9391
 Triple C Communications                     TuWay Mobile Communications,                TUALATIN VALLEY WATER
 96 Inveness Drive East                      Inc                                         DISTRICT
 Suite C                                     2115 City Line Road                         ATTN LEE LAWSON
 Englewood, CO 80112-5311                    Bethlehem, PA 18017-2127                    1850 SW 170TH AVE
                                                                                         BEAVERTON OR 97003-4211
 Triton Technical                            Two Way Radio of SC, INC.                   Two-Way Communications, Inc.
 921 SW Washington Street                    1792 South Lake Drive                       1704 Justin Road
 Suite 712                                   Suite 90-296                                Metairie, LA 70001-6260
 Portland, OR 97205-2830                     Lexington, SC 29073-6824
 Twin Eagle Consulting LLC                   Two-Way Solutions                           Tyco Integrated Security LLC
 7308 S. Alton Way, Ste.2-J                  84 Mackey St & Palmdale Ave P.O.            PO Box 371967
 Centennial, CO 80112-2315                   Box N-8                                     Pittsburgh, PA 15250-7967
                                             Nassau, Bahamas
 Two-Way Communications, Inc.                UADCNY                                      UPS - United Parcel Service
 4674 S Valley View Blvd                     30-10 41st. Ave,                            PO Box 7247-024
 Las Vegas, NV 89103-5519                    4th Floor                                   Philadelphia, PA 19170-0001
                                             Long Island City, NY 11101-2814
 U.S. Customs and Border                     UPS Supply Chain Solutions, Inc.            US Border Patrol- Intel
 Protection                                  P.O. Box 34486                              500 E Mann Rd
 Attn Revenue Division Bankruptcy            Louisville, KY 40232-4486                   Suite A Attn: Manuela Lobo
 Team                                                                                    Laredo, TX 78041-2630
 6650 Telecom Dr Ste 100
 UPS Freight                                 UTech USA, INC                              Uline
 28013 Network Place                         7965 Nw 110th Dr.                           2200 S. Lakeside Drive
 Chicago, IL 60673-1221                      Parkland, FL 33076-4725                     Waukegan, IL 60085-8311
 USA Radio Ltd.                              Ulrich Bus Service, Inc.                    Unicom C.A.
 7701 E. Indian School Rd., Suite F          119212 North Street                         CC Forum Etapa 2, Local 4 Av.23
 Scottsdale, AZ 85251-4041                   Stratford, WI 54484                         De Enero
                                                                                         Barinas, Venzuela 05201-0000
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 Uline                                       United Comm, LLC                            United Radio Communications, Inc.
 PO Box 88741                                8341 S.W, 157th Avenue                      9200 South Oketo Avenue
 Chicago, IL 60680-1741                      Suite-301                                   Bridgeview, IL 60455-2100
                                             Miami, FL 33193-5039
 Unified Systems Corporation                 United Technology                           Utilities Technology Council
 3010 Serenity Lane                          7965 NW 110th Dr.                           P.O. Box 79358
 Naperville, IL 60564-4639                   Parkland, FL 33076-4725                     Baltimore, MD 21279-0358
 United States Trustee (SA)                  VA-KY Communications                        VCF, Inc dba Valley
 411 W Fourth St., Suite 7160                905 Park Ave NE                             Communications
 Santa Ana, CA 92701-4500                    Norton, VA 24273-1011                       6720 Thirlane Road
                                                                                         Roanoke, VA 24019-2908
 V & B Communications                        VULCRAFT                                    Vagabondia Corp. HQ98.com
 16563 M.C.R 3                               1501 West Darlington Street                 6730 E. Mcdowell Road
 Wiggins, CO 80654                           Florence, SC 29501-2186                     Suite# 101
                                                                                         Scottsdale, AZ 85257-3142
 VEC Supply                                  Vasu Communications, Inc.                   Veracomca Or Juan Arias
 P.O. Box 1189                               P.O. Box 236                                6870 Sugarloaf Key Street
 Charlottesville, VA 22902-1189              Avon, OH 44011-0236                         Lake Worth, FL 33467-7652
 Valley View School District                 Viking Communications                       Viking Communications
 801 W Normantown Rd                         1421 S. 62nd Street                         9030 W. Schlinger Avenue
 Romeoville, IL 60446-4330                   Milwaukee, WI 53214-5090                    Milwaukee, WI 53214-1313
 Vernon Water Pollution Control              Vinayaka Hospitality Oak Brook              Vincennes Electronic, Inc d/b/a
 Dept.                                       LLC DBA D                                   VEI Comm
 PO Box 22 Vernon                            1909 Spring Road                            1026 Main Street
 Rockville, CT 06066-0022                    Oak Brook, IL 60523-3923                    Vincennes, IN 47591-2916
 Village of Schaumburg                       Vincennes Electronic, Inc d/b/a             Vincent Communications
 101 Schaumburg Court                        VEI Comm                                    5773 E Shields Ave.
 Schaumburg, IL 60193-1881                   973 Old Hopkinsville St.                    Fresno, CA 93727-7821
                                             Russellville, KY 42276-4204
 Vincennes Electronic, Inc d/b/a             Virtual CNS Inc                             Vision Comm - Chevron
 VEI Comm                                    8400 N. University Avenue                   4501 E Pacific Coast HWY
 710 S 13th Street                           # 108                                       Long Beach, CA 90804-3228
 Vincennes, IN 47591-4307                    Tamarac, FL 33321-1700
 Vincent Williams                            Vital Communication, Inc.                   Voceon Chicago, LLC
 6240 Peach Blossom St                       508 N. Central Avenue                       1340 Baur Blvd
 East Vale, CA 92880-3469                    Suite #105                                  St. Louis, MO 63132-1903
                                             Marshfield, WO 54449-2172
 Vision Communications                       Voceon Digital Wireless                     W.C.S.
 PO Box 598                                  Communications                              13455 S.W. 107 AVE
 Lakewood, CA 90714-0598                     1340 Baur Blvd                              Miami, FL 33176-6004
                                             St. Louis, MO 63132-1903
 Voceon Digital Radio                        W.T. Enterprises Inc                        WA Department of Revenue
 Communications                              6333 State Route 1                          2101 4th Ave Suite 1400
 1219 Price Plaza Suite 200                  Greenup, KY 41144-9427                      Seattle, WA 98121-2300
 Houston, TX 77008
 W.T. Enterprises Inc                        WECO Inc.                                   Walsh Pizzi O'Reilly Flanaga LLP
 6333 St Rt 1                                126 Weco Lane                               OneRiverfront Plaza
 Argillite, KY 41121                         Statevile, NC 28625-1139                    2037 Raymond Blvd.
                                                                                         6th Floor
                                                                                         Newark, NJ 07102
 WDSL                                        Warner Radio & Communications,              Washington Radio Reports
 1340 E Evans                                Inc.                                        PO Box 3594
 Pueblo, CO 81004-3105                       488 County Road 4228                        Gettysburg, PA 17325-0594
                                             Decatur, TX 76234-5018
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 Warner Communications                       Waste Management                            Waste Pro
 1340 Baur Blvd                              PO Box 541065                               PO Box 865223
 St. Louis, MO 63132-1903                    Los Angeles, CA 90054-1065                  Orlando, FL 32886-5223
 Waterfront Concerts                         Wave Distribution SAS                       Wavecomm
 275 4th Street                              KM 3.5 Autopista                            94 Main Street
 Old Town, ME 04468-1428                     Medellin Terminal DE CA                     Lebanon, NH 03784-1690
                                             Bodega 32 Cota, Columbia
 Wayne Redick                                Wenjie Sun&Associates, P.C.                 Westcom
 82 2nd St                                   225 W 34th Street                           2773 Leechburg Road
 Waterford, NY 12188-2417                    Suite 2225                                  Kensington, PA 15068-3138
                                             New York, NY 10122-2204
 Westell                                     Wheeler Communications                      Whisler Communications
 750 N. Commons Drive                        900 Nevada-Wynford Road                     2875 RW Johnson Boulevard
 Aurora, IL 60504-7940                       Bucyrus, OH 44820-9440                      Southwest
                                                                                         Olympia, WA 98512-6114
 White & Case                                White & Case LLP                            White & Case LLP
 Gabriela Baca                               23802 Network Place                         Attn. Jeremy K. Ostrander
 701 15th Street NW                          Chicago, IL 60673-1238                      3000 El Camino Real
 Los Angeles, CA 90021                                                                   5 Palo Alto Square
                                                                                         Palo Alto, CA 94306
 White Mountain Communications               White Mountain Communications               Whitecloud Communications
 1474 E Spruce Lane                          P.O. Box 2329                               333 Valley Street
 Pinetop, AZ 85935                           Pinetop, AZ 85935-2329                      Twin Falls, ID 83301-7971
 Whitecloud Communications                   Whitson Communications of OK                William Daubenmire
 663 Main Avenue East                        106 North Third Street                      4 Blanding Lane
 Twin Falls, ID 83301-7114                   Cheyenne                                    Greer, SC 29650-2995
 William Langrock                            William S. Antonucci                        William Weiss
 145-06 14th Ave.                            186 Stearns Avenue                          5570 Berkshire Valley Rd.
 Whitestone, NY 11357-2423                   Manfield, MA 02048-3004                     Oak Ridge, NJ 07438-9764
 Williams Communications, Inc                Windstream Communications                   Winncomm Technologies Inc
 5046 Tennessee Capital Blvd                 5969 Collection Center Dr.                  28900 Fountain Pkwy
 Tallahassee, FL 32303-4698                  Chicago, IL 60693-0059                      Suite B
                                                                                         Solon, OH 44139-4385
 Winston & Strawn LLP                        Winston & Strawn LLP                        Winston & Strawn LLP
 Attn. James Franklin Herbison               Attn. Micahel Paul Toomey                   Attn. Michael P Mayer
 33 Wacker Drive                             33 Wacker Drive                             33 Wacker Drive
 Chicago, IL 60606                           Chicago, IL 60606                           Chicago, IL 60606
 Wired Fox Technologies                      Wireless Specialist                         Wood Communications
 3195 J Verne Smith Pkwy                     PO BOX 713                                  PO Box 716
 Greer, SC 29651-6522                        La Salle, CO 80645-0713                     Union City, TN 38281-0716
 Work To One Service Inc                     Workstation Industries                      Worldwide Express
 Hollywood, FL 33024                         1938 E Pomona St                            2962 Trivium Cir.
                                             Santa Ana, CA 92705-5120                    Suite 208
                                                                                         Ft Lauderdale, FL 33312-4658
 Worldwide Express                           Worldwide Express Franchise                 Worldwide Express-CA
 PO Box 733360                               Holdings,LLC                                PO Box 101903
 Dallas, TX 75373-3360                       2323 Victory Ave                            Pasadena, CA 91189-0061
                                             Dallas, TX 75219-7696
 Wright County Emergency Services            Wyoming Secretary of State                  Xiaohui Hu
 PO Box 129                                  2020 Carey Ave S                            4992 Paseo Dali
 Mountain Grove, MO 65711-0129               Suite 700                                   Irvine, CA 92603-3321
                                             Cheyenne, WY 82002-0001



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 Xiaowei Wu                                  Xin Guan                                    YRC Freight
 601 Sw 109th Ave                            3315 Commerce Pkwy                          P.O. Box 93151
 Pemproke Pines, FL 33025-7114               Hollywood, FL 33025-3954                    Chicago, IL 60673-3151
 Yachun Du                                   Yangxiang Chen                              Yin Qi
 9816 Nw 9th Ct                              444 Washington Blvd                         175 Bryant Ave
 Fort Lauderdale, FL 33324-1140              Apt 1416                                    APT 1-A
                                             Jersey City, NJ 07310-1943                  White Plains, NY 10605-2610
 Yolofsky Law                                Yongxin Zhong                               Youngstown Radio Services, Inc.
 1101 Brickell Ave                           680 Executive Dr                            123 N Meridian Rd.
 S-800                                       Apt 2221                                    Youngstown, OH 44509-2037
 Miami, FL 33131-3113                        Plano, TX 75074-0242
 Yucca Telecom                               Yue Jian                                    Yueyue Wang
 P.O. Box 867                                220 Sw 116th Ave                            38048 Spring Ln.
 Portales, NM 88130-0867                     Pembroke Pines, FL 33025-4901               Farmington Hills, MI 48331-3725
 Yunet Coto                                  Zenitel dba C3 Critical                     Zetron
 4741 Nw 190th Street                        Communication Ca                            PO Box 97004
 Opa Locka, FL 33055-2560                    Bon Bini Business Center                    Redmond, WA 98073-9704
                                             Williamstead, Curacao Netherlands
 Zhenhuan Yang                               Zhenzong He                                 Zixiao Wang
 7060 Santa Paula Cir                        10228 Overhill Dr.                          21-78 35th Street
 Buena Park, CA 90620-3141                   Santa Ana, CA 92705-1595                    APT 3D
                                                                                         Astoria, NY 11105-2110
 Zones Inc                                   Zoro                                        David P. Stapleton
 1102 15th St S.W.                           909 Asbury Dr                               Stapleton Group
 Suite 102                                   Buffalo Grove, IL 60089-4525                515 South Flower St
 Auburn, WA 98001-6524                                                                   18th Fl
                                                                                         Los Angeles, CA 90071-2201




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